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                                 UNITED STATES DISTRICT
                                COURT NORTHERN DISTRICT
                                OF OHIO EASTERN DIVISION


                                                     MDL No. 2804
 IN RE: NATIONAL PRESCRIPTION
 OPIATE LITIGATION                                Case No. 1:17-md-2804
                                                  Judge Dan Aaron Polster
    THIS DOCUMENT RELATES TO:

     Cabell County Commission v.
     AmerisourceBergen Drug Corporation, et al.
        Case No. 17-op-45053




             _____________________________________________________

 PLAINTIFF CABELL COUNTY COMMISSION’S OMNIBUS MEMORANDUM IN
OPPOSITION TO (1) DISTRIBUTORS’ MOTION TO DISMISS SECOND AMENDED
COMPLAINT (Doc. 575); (2) MANUFACTURER DEFENDANTS JOINT MOTION TO
  DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT (Doc 594); AND (3)
MOTION TO DISMISS SECOND AMENDED COMPLAINT BY DEFENDANTS CVS
   HEALTH CORPORATION, THE KROGER CO., RITE AID CORPORATION,
     WALGREEN BOOTS ALLIANCE, INC., AND WALMART INC. (Doc 583)

             _____________________________________________________
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    Tort Subsidies, the Limits of Loss Spreading, and the Free Public Services Doctrine,
    76 Tulane L.Rev. 727 (2002) ................................................................................................... 36

D. McIntyre,
   Tortfeasor Liability for Disaster Response Costs: Accounting for the True Cost of Accidents,
   55 Fordham L.Rev. 1001 (1987) ............................................................................................. 38




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                                          INTRODUCTION
        The harm that the Cabell County Commission (“Plaintiff” or “the County”) seeks to remedy

in this case is beyond question – a widespread and unprecedented public health epidemic which

compelled the County to declare the unlawful distribution of prescription pain pills a public nuisance.

        Cabell County is at the epicenter of the opioid crisis. Huntington, Plaintiff’s county seat, has

been called the “overdose capital” of the country. Plaintiff’s Second Amended Complaint (“SAC”) at

¶ 688. In one local neighborhood, in a town of less than 50,000 people, 26 people overdosed in one

night, including six individual overdoses at one residence. Id. By every count, whether number of

prescriptions, overdose deaths, opioid-addicted babies, or drug related crime, the County’s numbers

are horrific. Defendants’ response is to claim that there is no “public right” to be free from this

nightmare. Cabell County urges the Court to review in their entirety the county-specific facts Plaintiff

has pled, so the Court will understand why the County was compelled to be at the forefront of this

fight. [See SAC ¶¶ 662-698]

        Plaintiff incorporates the Introduction and Summary of Issues and Argument as set forth in

Plaintiffs County of Summit, Ohio, and City of Akron, Ohio’s Omnibus Memorandum in Opposition

to (1) Defendants AmerisourceBergen Drug Corp., Cardinal Health, Inc., and McKesson Corp’s

Motion to Dismiss; (2) Motion to Dismiss Complaint by Defendants Walmart Inc., CVS Health Corp.,

Rite Aid Corp., and Walgreens Boots Alliance, Inc.; and (3) Manufacturer Defendants’ Joint Motion

to Dismiss Plaintiffs’ Second Amended Complaint, ECF No. 654 at 1-4 (hereinafter “Summit Opp.

Mem.”). Defendants’ motions1 lack merit and should be denied.




1 This is Plaintiff’s combined response to the following motions and supporting memoranda: Distributor’s
Motion to Dismiss Second Amended Complaint [ECF No. 575, 575-1] (hereinafter “Dist. Mem.”);
Manufacturer Defendants’ Joint Motion to Dismiss Plaintiff’s Second Amended Complaint [ECF No. 594,
594-1] (hereinafter “Mfr. Mem.”); and Motion to Dismiss Second Amended Complaint by Defendants CVS
Health Corporation, The Kroger Co., Rite Aid Corporation, Walgreen Boots Alliance, Inc., and Walmart Inc.
[ECF 583] (hereinafter “Pharm. Mem.”). Plaintiffs in all cases have coordinated to conform to the page limits


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                                           LEGAL STANDARD
         Plaintiff incorporates the Legal Standard section from the Summit Opp. Mem. at 4-6. As in

Summit, Defendants incorrectly reframe the Plaintiff’s entire Complaint as sounding in fraud in an

attempt to elevate the required pleading standard. Defendants incorporate their argument as set forth

in the Motion to Dismiss Summit County. [Mfrs. Mem. at 1] Plaintiff incorporates Summit County’s

response to this improper reframing of claims. [Summit Opp. Mem. at 5-6]

                                                ARGUMENT
I.       Plaintiff Cabell County Has Stated Valid Causes of Action.
         A.      Plaintiff Has Properly Pled a Claim for Common Law Public Nuisance.
         The moving Defendants each challenge Plaintiff’s nuisance claims, largely based on the same

arguments raised in support of their Summit County motions to dismiss. [Dis. Mem. at 2-4; Mfr. Mem.

at 5-8; Pharm. Mem. at 8-9] Plaintiff incorporates and reasserts the arguments made in Summit

County’s opposition. [Summit Opp. Mem at 6-14] For the reasons set forth below, the West Virginia

authorities cited by the Defendants to challenge the County’s SAC are similarly unpersuasive.2

                 1.       The SAC properly alleges an interference with a public right.
         It is clear that the SAC alleges an interference with public rights sufficient to maintain a

nuisance claim in West Virginia.3 As Defendants acknowledge, West Virginia has adopted the Second

Restatement’s test for a public nuisance. [Pharm. Mem at p.8, n.3 (citing Rhodes v. E.I. duPont de Nemours

and Co., 657 F. Supp. 2d 751, 768 (S.D. W. Va. 2009); Duff v. Morgantown Energy Assocs., 421 S.E.2d 253,


established by the Court in Case Management Order No. Four, ECF No. 485, at 3 as interpreted by Special
Master Cohen.
2 The factual allegations relied upon by Summit County are all similarly pled in Cabell’s SCA. See ¶¶ 17-20, 139-
141, 471, 549, 570, 629-698, 812, 864, 865, 890, 902-3, 905-08, 911, 913, 949, 959, and Factual Allegations Pts
I.D., I.E, and II.
3 The Distributors’ claim that Plaintiff has alleged no facts to support its claim to the interference “in the use
and enjoyment of the public and private land comprising Plaintiff’s corporate boundaries” and “environmental
contamination” of the same is belied by numerous facts contained within the SAC, inter alia SAC ¶¶ 690, 691,
851. [Dist. Mem. at 3, n.3] In the same footnote, he Distributors inexplicably attempt to recast Plaintiff’s case
as being “about personal injuries from the use of prescription drugs and the alleged consequences” which is
clearly not an accurate description of the nature of the Plaintiff’s claims.


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257 n.6 (W. Va. 1992)] Under the Second Restatement test, “[u]nlike a private nuisance, a public

nuisance does not necessarily involve interference with use and enjoyment of land,” Restatement

(Second) of Torts § 821B cmt. H (1979), and “a significant interference with the public health, the

public safety, the public peace, the public comfort or the public convenience,” is sufficient to

constitute an interference with a public right. Id. at § 821B(2)(a); see also Summit Opp. Mem at p. 7-10.

In any event, the SAC also contains allegations of damage to property. [SAC at ¶ 690 (alleging decrease

in property taxes and property values); id. at ¶ 691 (alleging property contamination)]

        Manufacturing Defendants’ argument that use or misuse of a lawful product, or a series of

personal injury claims, cannot give rise to a claim for nuisance fails for the same reasons that it did in

the Summit motions. [Summit Opp. Mem. at 10-11] Indeed, none of the West Virginia cases

Defendants cite so holds. In Duff, the Court reversed an injunction of prospective activities because the

non-governmental plaintiffs could not meet the high standard of proof for future harm and

prospective relief, not because the alleged future harms would not implicate a public right. 421 S.E.2d

at 262. Likewise, in Rhodes v. E.I. du Pont de Nemours & Co., 636 F.3d 88, 97 (4th Cir. 2011), the Court

rejected the public nuisance claim of a class of private citizens because they failed to meet the “special

injury” requirement applicable to a private person bringing a public nuisance claim.4 It is true that, in

rejecting the plaintiff’s private nuisance claim, the Rhodes court noted that a public right (and therefore

a public nuisance) is not simply a matter of counting the number of people affected, but the County

does not contend that the harms here constitute a public nuisance merely because of the number of

people affected. Rather, it is the nature of the harms caused by the opioid epidemic – the impact on

public health and public safety – that constitute the impairment of public rights and constitute a public



4 Public entities are not subject to this requirement. See id. (citing Hark v. Mountain Fork Lumber Co., 34 S.E.2d
348, 354 (W.Va. 1945)). In Hark, the Supreme Court of Appeals noted, that even absent a special injury, a suit
to abate a public nuisance can be brought, as is here, by “the proper public officials to vindicate the rights of
the public.” Id. See also Summit Opp. Mem at p. 8, n.6.


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nuisance. See Rhodes, 636 F.3d at 96 (“the proper characterization of a nuisance as either private or

public depends on the nature of the interest affected by the defendant’s conduct.”).

         Nor does Sharon Steel Corp. v. City of Fairmont, 334 S.E.2d 616 (W.Va. 1985), support

Defendants’ argument. Although the court listed examples of interferences previously held to

constitute nuisances, (id. at 621) nothing in the Sharon Steel opinion suggests that the list was, or was

intended to be, exhaustive. On the contrary, in the same opinion, the Supreme Court of Appeals held

that “[a] nuisance is anything which interferes with the rights of a citizen, either in person, property,

the enjoyment of his property, or his comfort.” 334 S.E.2d at 621. (quotes and cit. om.) Clearly, this

test, and not the list of particular examples, is the controlling holding of that case.5,6

                  2.       Plaintiff has adequately plead causation.
         Relying primarily on their arguments in Summit, Defendants argue that Plaintiff fails to

sufficiently plead proximate cause for its nuisance claim. [Mfr. Mem. at 5-6; Pharm. Mem. at 9; Dist.

Mem. at 2, n.1] Plaintiff incorporates the response in Summit.7 [Summit Opp. Mem. at 13-15] This




5 Defendants cite Camden Cty. Bd. of Chosen Freeholders v. Beretta, U.S.A. Corp., 273 F.3d 536 (3d Cir. 2001), but
that case was decided under New Jersey law and thus is inapplicable. It is also distinguishable, since it involved
only conduct that was otherwise lawful, 273 F.3d at 540, whereas here, by contrast, the County alleges that the
Defendants’ conduct here was unlawful. See below at Point I-A-3.
6 The Manufacturing Defendants also argue that the absence of a private right of action bars a nuisance claim.
[Mfr. Mem. at 8] The case cited for this proposition, Christian Cty. Clerk ex rel. Kem v. Mortg. Elec. Registration Sys.,
Inc., 515 F. App’x 451, 458-59 (6th Cir. 2013), is a case interpreting Kentucky’s negligence per se statute.
Defendants cite no West Virginia authority for the proposition that the absence of a private right of action bars
a public entity from pursing claims based on public nuisance. The County’s nuisance action here is not one to
enforce the statute; rather, it is an action to protect the public from the Defendants’ unreasonable interference
with public rights, and statutory authority exists to bring the claim. W.Va. Code § 7-1-3kk.
7The principal West Virginia authority cited by Defendants, Yourtee v. Hubbard, 474 S.E.2d 613, 620 (W.Va.
1996), is not nuisance case and is addressed infra. at §§ I.C.1.a.; I.C.1.b; and I.C.3.b.


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argument has previously been rejected as a matter of West Virginia law.8 Other courts applying the

common law test of the Second Restatement have rejected similar arguments.9

                  3.      Defendants’ conduct meets the unreasonable interference test.
          Defendants also argue that Plaintiff has failed to establish that Defendants’ actions constituted

an unreasonable interference with a public right sufficient to constitute a public nuisance. [Mfr. Mem.

at 6-7, Pharm. Mem. at 8-9] Defendants primarily rely on Pope v. Edward M. Rude Carrier Corp., 75

S.E.2d 584, 589 (W. Va. 1953), which stands for the unremarkable proposition that conduct that is

lawful cannot constitute a nuisance. This argument is addressed and refuted in the Summit briefing

which is incorporated herein. [Summit Opp. Mem at 11-12] Simply put, for the reasons noted therein,

Defendants’ actions were not lawful or authorized. Rather, Defendants violated applicable federal

statutes and regulations, all of which was pled in the SAC.10 In addition, Plaintiff also pled violations

of West Virginia law which imposes similar duties. [See SAC ¶¶ 950-55 (noting violations of West

Virginia Uniform Controlled Substances Act that parallel and incorporate federal law)] See also Morrisey

v. Cardinal, supra at ¶¶ 54-63 (rejecting claim that West Virginia law authorized defendants’ actions);

and Morrisey v. AmerisourceBergen, supra at ¶¶ 54-63 (same).

                  4.      Broad damages are recoverable in a public nuisance claim.
          Defendants’ final challenge to Plaintiff’s nuisance claim seeks to limit Plaintiff’s damages,

contending that the County is entitled only to injunctive relief, and not to any form of damages,


8 See, e.g., State ex rel. Morrisey v. Cardinal Health, No. 12-C-140, (W. Va. Cir. Ct. Boone Cnty, April 17, 2015),
[ECF No. 580-7 at ¶¶ 64-78]; State ex rel. Morrisey v. AmerisourceBergen Drug Corp., et al, No. 12-C-141 (W. Va. Cir.
Ct. Boone Cnty, December 12, 2014), at ¶¶ 64-78, 2014 WL 12814021 (attached as Exhibit 1). The Supreme
Court of Appeals of West Virginia denied the Defendants request for a writ of prohibition to review Morrisey v.
AmerisourceBergen Drug Corp. State ex.rel. AmerisourceBergen Drug Corp v. Thompson, No. 15-1026 (W.Va. January 5,
2016) (attached as Exhibit 2). Consistent with previous orders, Cabell requests that the Court take judicial notice
of the exhibits attached to this motion which are either public records or documents produced by Cardinal.
9 James v. Arms Tech., Inc., 820 A.2d 27, 39 (N.J. App. Div. 2003); Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d
1136, 1143 (Ohio 2002); White v. Smith & Wesson Corp., 97 F. Supp. 2d 816, 823 (N.D. Ohio 2000); City of Boston
v. Smith & Wesson Corp., No. 199902590, 2000 WL 1473568, at *7 (Mass. Super. July 13, 2000).
10   SAC ¶¶ 902-909, 911, and 913.


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disgorgement, or restitution. [Dist. Mem. at 4; Mfr. Mem. at 8] No such limitation exists under West

Virginia law for a public nuisance action brought by a public entity.11

         The County is specifically authorized to bring an action to “abate or cause to be abated” a

public nuisance.12 W.Va. Code § 7-1-3kk. West Virginia caselaw recognizes broad remedies in

abatement. See, e.g., Witteried v. City of Charles Town, No. 17-0310, 2018 WL 2175820, at *3 (W. Va. May

11, 2018) (abatement action awarding injunction allowing city to recover costs of demolition of

building determined to be public nuisance); see also Good v. W. Virginia-Am. Water Co., No. 2:14-CV-

1374, 2018 WL 2976108, at *2 (S.D.W. Va. June 8, 2018) (recognizing un-litigated abatement claim

for “rehabilitative advertising” as part of environmental claim arising out of contamination of public

water supply). Even the single case cited by the Defendants [Dist. Mem. at 4] allows a public entity

bringing a public nuisance claim to impose upon and recover from the defendant “the obligations,

including the costs of the abatement.” In re Lead Paint Litig., 924 A.2d 484, 498 (N.J. 2007).

         Lead Paint, supra, and other cases limiting abatement damages rely on the Second Restatement,

§ 821C. E.g., 924 A.2d at 496-99, 502 (citing Restatement (Second) of Torts § 821C (1979)). This

section addresses the “special injury” requirement necessary for a private party to recover damages or

an abatement injunction. Restatement (Second) of Torts § 821C. In essence the rule grants standing

to private plaintiffs where it might otherwise not exist. Id. at Comment j. The ability of a governmental




11Summit has agreed to limit its damages based on Ohio law. [Summit Mem Opp. at 8, n.6] To the extent
that the succeeding citations of West Virginia law permit recovery of broader damages, Plaintiff does not join
in Summit’s damage limitations.
12Distributor Defendants’ assert that Plaintiff’s damages are limited to injunctive relief. [Dist. Mem at 4] Their
argument is based on W.Va. Code §16-3-6, which is part of the article giving public health officials authority
over communicable diseases, and, as such it is not applicable to this case. Counties have general authority to
bring actions and abate nuisances under W.Va. Code § 7-1-3kk. In any event, as noted herein, equitable
injunctive relief abatement remedies are broad. Finally, if the provision is applicable, it conclusively establishes
that public health is a public right sufficient to support a public nuisance claim.


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entity to bring the claims, however, was not in doubt, and a claim for governmental “redress” is

specifically recognized:

        [I]t is uniformly agreed that a private individual has no tort action for the invasion of
        the purely public right, unless his damage is to be distinguished from that sustained by
        other members of the public. It is not enough that he suffers the same inconvenience
        or is deprived of the same enjoyment or is exposed to the same threat of injury as
        everyone else who may be exercising the same public right. Redress of the wrong to the
        entire community is left to its duly appointed representatives.

Id. at Comment a (emphasis added).

        Moreover, it has long been recognized that restitution is an available remedy in

public nuisance cases under the common law. A claim for restitution arises where “[a] person who has

performed the duty of another, by supplying things or services ... and (b) the things or services supplied

were immediately necessary to satisfy the requirements of public decency, health, or safety.”

Restatement of Restitution § 115; United States v. Boyd, 520 F.2d 642, 644–45 (6th Cir. 1975). Comment

b of the Restatement makes it clear that the “abatement of a serious public nuisance ... is another

situation calling for the [award of restitution].” Restatement of Restitution, § 115 cmt. b. This

common law doctrine is recognized in West Virginia. State v. Aaer Sprayed Insulations, No. 86-C-458,

1987 WL 1428107 (W. Va. Cir. Ct. Sept. 4, 1987) (permitting restitution in public nuisance action by

State seeking to recover costs of asbestos abatement, citing Restatement of Restitution § 115). See also

State v. Schenectady Chem., Inc, 479 N.Y.S.2d 1010 (N.Y.App. 1984) (state could receive restitution of

costs for abating public nuisance caused by chemical wastes); Brandon Township v. Jerome Builders, Inc.,

263 N.W.2d 326 (Mich. Ct. App. 1977) (town could recover costs of repairing dam as restitution for

abating public nuisance); City of New York v. Keene Corp., 505 N.Y.S.2d 782, 784 (Sup.Ct.1986); 55 Motor

Ave. Co. v. Liberty Indus. Finishing Corp., 885 F. Supp. 410, 424 (E.D.N.Y. 1994).

        A claim for recovery of costs incurred and costs to be incurred in responding to an actual or

threatened nuisance is without question equitable in nature. Even in circumstances where a legal claim

for damages is statutorily prohibited, the allowance of equitable claims allows the recovery of

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restitution damages. Porter v. Warner Holding Co., 328 U.S. 395, 402 (1946). In such a case, the plaintiff

does not seek compensatory damages; rather the plaintiff simply seeks to restore the status quo ante.

See id. Courts can also create large equitable funds to provide for the costs of abatement.13

Alternatively, other courts have considered the governmental costs expended to respond to a public

nuisance as sufficient to meet the “special injury” requirement.14 And, when damages are awarded in

nuisance, punitive damages are potentially available under West Virginia law upon a proper evidentiary

showing. See, e.g., Perrine v. E.I. du Pont de Nemours & Co., 694 S.E.2d 815 (W.Va. 2010); Garnes v. Fleming

Landfill, Inc., 413 S.E.2d 897, 900 (1991).

         B.      Plaintiff Has Properly Pled a Claim Under Federal RICO.
         The Manufacturer and Distributor Defendants15 argue that Plaintiff’s RICO claims must be

dismissed for the same reasons asserted in their Summit County motions to dismiss. [Dis. Mem at 2;

Mfr. Mem. at 3] Thus, Plaintiff incorporates and reasserts the arguments made in Summit County’s

opposition. [Summit Opp. Mem. at 4-6, 23-69] Here, the Manufacturer Defendants also assert

additional bases for dismissing Plaintiff’s Complaint, but for the reasons discussed below, those

arguments lack merit.




13People of the State of California v. Atlantic Richfield Co., No. 100CV788657, 2013 WL 6687953 at *59 (Cal. Super.
Ct. Dec. 16, 2013) (“The Defendants against whom judgment is entered, jointly and severally, shall pay to the
State of California $1,100,000,000 (One Billion One Hundred Million Dollars) into a specifically designated,
dedicated, and restricted abatement fund (the “Fund”). The payments into the Fund shall be within 60 days of
entry of judgment.” (emphasis added)).
14 New Mexico v. Gen. Elec. Co., 335 F. Supp. 2d 1185, 1240–41 (D.N.M. 2004) (pecuniary losses arising from
existing and future response and remediation costs); State of N.Y. v. Next Millennium Realty, LLC, No. CV03-
5985(SJF)(MLO), 2007 WL 2362144, at *15 (E.D.N.Y. Aug. 14, 2007) (injunctive order directing defendants
to pay for or carry out any remediation of the groundwater contamination in the future).
15For purposes of this section only, Plaintiff’s references to Manufacturer Defendants and Distributor
Defendants refer to the Manufacturer and Distributor Defendants in the RICO claims in the SAC, Claims for
Relief 1-2, respectively.




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        First, the Manufacturer Defendants ask the Court to extend the learned intermediary doctrine

far beyond the bounds of the law. The doctrine is inapplicable to Plaintiff’s RICO claims because it is

a doctrine of product liability law and it has not been applied outside of that context. State ex rel. Johnson

& Johnson Corp. v. Karl, 647 S.E.2d 899 (W.Va. 2007) (generally discussing the learned intermediary

doctrine as a matter of product liability law); see also In re Neurontin Mktg. & Sales Practices Litig., 712

F.3d 21, 39 (1st Cir. 2013) (rejecting application of the learned intermediary in RICO context). Indeed,

even in the limited context of product liability, the doctrine is only applicable, if at all, to conduct

occurring after the statutory enactment of the doctrine by W.Va. Code § 55- 7-30 in 2016 J.C. by and

through Michelle C. v. Pfizer, Inc., 814 S.E.2d 234, 238 n.9 (W.Va. 2018) (W.Va. Code § 55-7-30 not

retroactive and learned intermediary previously rejected in West Virginia in its entirety in Karl, supra).

        Second, setting applicability aside, the Manufacturer Defendants cannot avail themselves of

the doctrine because the learned intermediary doctrine relieves a manufacturer of the duty to warn a

consumer directly only when the manufacturer provides reasonable warnings or instructions to the

prescriber. The County alleges, however, that the Defendants unreasonably failed to provide

appropriate instructions and warnings, and they directly contradicted their products’ warning labels

and affirmatively misrepresented, or omitted information about the risks of prescription opioid use.

[SAC ¶¶ 164, 563, 649, 722-24, 743, 745, 831, 849, 900, 906] These inadequate warnings, fraudulent

over-promotions and misrepresentations, negated the adequacy, reasonableness and effectiveness of

any label warnings, thereby taking these defendants out of any protections the learned intermediary

doctrine would otherwise offer. See W.Va. Code § 55-7-30(a)(1),(b); see also Karl, 647 S.E.2d at 911-12

(exceptions include “overpromoted drugs” and instances in which “the manufacturer knows or should

know that a physician will not be in a position to provide an adequate warning”); Summit Opp. Mem.

at I.B.2.C (explaining that the FDA warning labels relied on by the Manufacturer Defendants were




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not approved until December 2016 and, therefore, they provide no basis for any assertion that they

adequately informed prescribers of risks related to prescription opioid use before that date).

        Finally, intervening third-party criminal acts such as street-level drug dealing and heroin use

do not negate proximate causation in this case. Where the original tortfeasor’s intentional acts

contemplated and caused the intervening acts, the original tortfeasor remains liable for the consequences of

its actions--even if the intervening actors negligently or intentionally cause injury. See, e.g., In re

Neurontin, 712 F.3d at 39; Rest. (Second) of Torts § 447; Summit Opp. Mem. at 40-45. The cases cited

by the Manufacturer Defendants do not hold otherwise. Rather, in Yourtree v. Hubbard, 474 S.E.2d 613

(W.Va. 1996), the court affirmed a trial verdict on the basis that the causal chain was broken because

the intervening acts were not foreseeable. The federal district court in Bertovich v. Advanced Brands &

Imp., Co., No. 5:05CV74, 2006 WL 2382273, *11 (N.D. W.Va. Aug. 17, 2006) similarly recognized that

“West Virginia does require that an intervening illegal act be unforeseeable” in order for it to break

the causal chain.

        Here, Plaintiff alleged a direct causal link between misrepresentations about the addictiveness

of prescription opioids, failure to identify and report suspicious orders, and the epidemic that harmed

Plaintiff. [SAC ¶¶ 17, 469, 765, 849-53, 868, 877, 879-82, 883-85]. These allegations are sufficient to

satisfy the West Virginia principle that “a tortfeasor ... is not relieved of liability by the intervening acts

of third persons if those acts were reasonably foreseeable by the original tortfeasor at the time of [its]

negligent conduct.” Sergent v. City of Charleston, 549 S.E.2d 311 (W.Va. 2001). Moreover, a reasonable

person could and would foresee excess prescription opioids sold on the street and those addicted to

prescription opioids transitioning to (substantially cheaper) heroin resulting from Defendants’ actions.

Thus, as discussed in Summit (at § I.C.2.b.) and below (at § I.C.3), the allegedly intervening acts were

foreseeable and, nevertheless, raise fact issues inappropriate for determination at this stage of the

proceedings. Indeed, the Western District of Washington recently rejected the same argument raised



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by Purdue regarding its liability in the City of Everett v. Purdue Pharma L.P., C17-209RSM, 2017 WL

4236062, at *6 (W.D. Wash. Sept. 25, 2017). Here, as in Everett, the SAC sufficiently and plausibly

alleges that intervening third-party criminal acts were foreseeable and do not break the causal chain.

        The Manufacturer Defendants’ claim that they did not maintain control over the Front Groups

and KOLs is contrary to the allegations in the SAC which explicitly allege that Defendants had the

right to direct their activities, including “funding, directing, editing, approving,” etc. [SAC ¶¶ 318, 320-

23, 326-29, 331-36, 338, 344-46, 349-52, 357-64, 367-69, 766-69, 779-78, 784-86] The agreements

between the Manufacturer Defendants and their KOLs and Front Groups, unlike the cases cited in

the motion to dismiss Summit County or Teter v. Old Colony, 441 S.E.2d 728 (W.Va. 1994) (where there

was “no evidence demonstrating that the broker retained any control over the manner in which the

engineering firm performed its inspection of the premises”) demonstrate that the Manufacturer

Defendants maintained control over the kinds of representations that KOLs and Front Groups made,

and the way in which they were prepared, delivered and disseminated.

        Plaintiff has pleaded that the Manufacturer Defendants engaged in the felonious manufacture,

importation, receiving, concealment, buying, selling, or otherwise dealing in a controlled substance

pursuant to RICO section 1961(1)(D) by violating, at a minimum, section 843(a)(4)(A) of the CSA.

[SAC ¶¶ 863-65] Contrary to the Manufacturer Defendants’ contentions, a violation of section 60A-

4-401 of the West Virginia Code is irrelevant to Plaintiff’s Opioid Supply Chain claim. Section 60A-

4-401 is not relied on as a racketeering activity. Similarly, while Plaintiff relies on violations of W. Va.

Code § 60A-8-13 and the W. Va. C.S.R. in support of other claims for relief, they do not form the

basis of Plaintiff’s racketeering allegations. Finally, a violation of Section 60A-8-401 may satisfy the

definition of a racketeering activity under RICO section 1961(1)(D) where, as here, Plaintiff alleges

that the Manufacturer Defendants manufactured, delivered, and possessed their prescription opioids

in ways that were not authorized by federal or state law when they failed to identify and report



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suspicious orders. [SAC ¶¶ 955-57] And, a violation of that statute satisfies RICO section 1961(1)(D)

because it is a felony punishable under any law of the United States. 18 U.S.C. § 1961(1)(D).

Nevertheless, Plaintiff does not rely on a violation of Section 60A-8-401 to support of its racketeering

activities and it, therefore, cannot undermine Plaintiff’s federal RICO claims.

         As argued in Summit County, Plaintiff pleaded mail and wire fraud with the particularity

required in a complex, far reaching fraudulent scheme. [Summit Opp. Mem. at 5-6, 26-35] In contrast,

the Manufacturer Defendants provide no authority requiring Plaintiff to connect any

misrepresentations directly to a prescription, prescriber, or patient in Cabell County in order to plead

mail and wire fraud.16 And, Plaintiff’s alleged failure to tie misrepresentation to prescriptions,

prescribers or patients is belied by the significant number of pages devoted to detailed and specific

examples of Manufacturer Defendants’ patently false claims, including pictures and quotes taken

directly from source material, regarding prescription opioids in general and their specific products

[SAC at ¶¶ 42-98], the ways in which those misrepresentations were disseminated through Front

Groups [SAC ¶¶ 98-115], KOLs [SAC ¶¶ 115-26], continuing medical education (“CME”) programs

[SAC ¶¶ 126-29], “branded” advertising to promote their products directly to doctors and consumers

[SAC ¶¶ 129-30], “unbranded” advertising to promote their products directly to doctors and

consumers without FDA review [SAC ¶¶ 130-31] and funding, editing, and distributing publications

that supported their misrepresentations (including the nine falsehoods alleged earlier in the

Complaint). [SAC ¶¶131-33] The SAC describes how these misrepresentations were disseminated,

including through speakers’ bureaus and programs [SAC ¶ 137], and detailing to doctors. [SAC ¶¶

133-37] Plaintiff further alleged that the Manufacturer Defendants made thousands of payments to

prescribers in West Virginia for activities such as participating on speakers’ bureaus and providing


16 The Manufacturer Defendants do not provide any new cases in support of this proposition and no authority
cited in Summit County stands for this proposition.


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consulting services [see, e.g., SAC ¶¶ 42, 50, 57, 66, 79]; and that sales representatives marketed the

Manufacturer Defendants’ drugs in Cabell County and surrounding areas [SAC ¶ 161]. Plaintiff’s

alleged failure to identify specific prescribers or sales representatives in this massive, years-long

fraudulent scheme is irrelevant where the SAC alleges information that is obviously within the

Manufacturer Defendants’ knowledge regarding their own marketing practices, detailing visits and

payments to doctors within Cabell County.

        Finally, the group pleading argument lacks merit. Although the Manufacturer Defendants raise

this argument again, they do not provide the Court with any new authority or facts to suggest that it

is any more applicable to Cabell County than Summit. It, therefore, fails on the same basis as argued

in Summit County. [Summit Opp. Mem. at § I.B.1.b.iii]

        C.       Plaintiff Has Properly Pled Negligence Claims Against All Defendants.
        The elements of negligence in West Virginia are: duty, breach, causation and damages. Carter

v. Monsanto Co., 575 S.E.2d 342, 347 (W. Va. 2002). Defendants dispute that they owed a duty to

Plaintiff. [Mfr. Mem. at 9-10; Dist. Mem. at 7-8; Pharm. Mem. at 4-6] The Pharmacy Defendants also

argue that Plaintiff has not adequately pled breach and causation. [Pharm. Mem. at 6-8; Mfr. Mem. at

10 (proximate cause)] Defendants incorporate the arguments made in the Summit County case.

Plaintiff incorporates Summit County’s response to the same. [Summit Opp. Mem. at 69-88]

        In addition, Plaintiff notes that all of these arguments fail because under West Virginia law

Defendants clearly owed a common law duty to Plaintiff – a duty that is informed by the applicable

standards of care in the Controlled Substances Act (“CSA”) and West Virginia Controlled Substances

Act (“WSCSA”). Plaintiff also properly pled that Defendants breached their duties which proximately

caused Plaintiff’s injuries.




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                 1.     Plaintiff Properly Pled the Existence of a Duty.
                        a.      Defendants owe a common law duty of reasonable care.
        Defendants’ arguments center on the lack of a private right of action in the CSA or WVCSA.

But, the duty owed here stems from the common law duty of reasonable care. Under West Virginia

law every person is required to use reasonable care to avoid injuring another. “‘The liability to make

reparation for an injury, by negligence, is founded upon an original moral duty, enjoined upon every

person, so to conduct himself, or exercise his own rights, as not to injure another.’ This basic

expression of policy is a restatement of the general duty which all actors in an organized society owe

to their fellow persons.” Robertson v. LeMaster, 301 S.E.2d 563, 567 (W. Va. 1983) (cit. om.).

        “Whether a person acts negligently is always determined by assessing whether or not the

alleged negligent actor exercised reasonable care under the facts and circumstances of the case, with

reasonable care being that level of care a person of ordinary prudence would take in like

circumstances.” Strahin v. Cleavenger, 603 S.E.2d 197, 205 (W. Va. 2004) (cit. om.). Moreover, “one who

engages in affirmative conduct, and thereafter realizes or should realize that such conduct has created

an unreasonable risk of harm to another, is under a duty to exercise reasonable care to prevent the

threatened harm.” Stevens v. MTR Gaming Grp., Inc., 788 S.E.2d 59, 62 (W. Va. 2016) (citing Robertson).

Plaintiff has pled this existence of a duty that Defendants owed under the common law to Plaintiff.

[SAC¶¶ 463, 468-472; 929-30] Defendants “had a duty to exercise reasonable care in delivering

dangerous narcotic substances.” [SAC ¶ 469]

        West Virginia has long recognized that the existence of a duty depends on the foreseeability

of the injury.

        The ultimate test of the existence of a duty to use care is found in the foreseeability
        that harm may result if it is not exercised. The test is, would the ordinary man in the
        defendant's position, knowing what he knew or should have known, anticipate that
        harm of the general nature of that suffered was likely to result?




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Bragg v. United States, 741 S.E.2d 90, 98 (W. Va. 2013) (cit. om.). The task of this court in determining

duty

         is not to decide whether a particular plaintiff's injury was reasonably foreseeable in light
         of a particular defendant's conduct, but rather to evaluate more generally whether the
         category of negligent conduct at issue is sufficiently likely to result in the kind of harm
         experienced that liability may appropriately be imposed on the negligent party.

Strahin, 603 S.E.2d at 207 (cit om) (emphasis in original). It is up to the jury – and thus not appropriate

for a Motion to Dismiss – to consider foreseeability, that is, in the context of the facts of the case,

whether Defendants’ conduct falls within the scope of the duty as defined by the court. Id.

         The existence of a duty also involves policy considerations such as “the likelihood of injury,

the magnitude of the burden of guarding against it, and the consequences of placing that burden on

the defendant.’” Stevens, 788 S.E.2d at 62-63 (cit. om.); Bragg, 741 S.E.2d at 98 (cit. om.). Defendants,

in their roles as manufacturers and distributors of dangerous drugs, were under an obligation to

evaluate whether their failure to exercise adequate control over the marketing and distribution of their

products would be likely to cause injury. [SAC ¶ 934 (“Defendants’ conduct in marketing, distributing

and selling dangerously addictive drugs required a high degree of care and places them in a position

of great trust and responsibility”] This was a responsibility of great magnitude and one that Defendants

were in the best position to guard against. [Id. See also SAC ¶ 473 (describing how Congress recognized

that controlled substances were a danger to public health and safety), ¶¶ 487-492]17 In fact, the

potential that opioids could cause widespread harms to communities was so foreseeable that federal



17 “Congress was particularly concerned with the diversion of drugs from legitimate channels. It was aware that
registrants, who have the greatest access to controlled substances and therefore the greatest opportunity for
diversion, were responsible for a large part of the illegal drug traffic.” United States v. Moore, 423 U.S. 122, 135
(1975). To prevent this diversion, the CSA was designed to improve the administration and regulation of the
manufacturing, distribution, and dispensing of controlled substances by providing for a “closed” system of
drug distribution for legitimate handlers of such drugs. Such a closed system is intended to reduce the widespread diversion
of these drugs out of legitimate channels into the illicit market, while at the same time providing the legitimate drug
industry with a unified approach to narcotic and dangerous drug control. 1970 U.S.C.C.A.N. 4566, 4571-72
(emphasis added).


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and state laws were enacted to attempt to prevent addiction, abuse and diversion from occurring. [SAC

¶¶ 471-82, 951-57] The DEA repeatedly reminded the Defendants of their obligations and advised

them that their responsibility was critical as “the illegal distribution of controlled substances has a

substantial and detrimental effect on the health and general welfare of the American people” and that

“diversion can cause enormous harm.” [SAC at ¶490-92. See also Summit Opp. Mem. at 72-73]

         Thus, it is irrelevant if the duty to monitor and report suspicious orders was unknown to or

implied under the common law. [Dist. Mem. at 6-7] Defendants were under the obligation to use

reasonable care just like everyone else in West Virginia. See Robertson, 301 S.E.2d at 567; Strahin, 603

S.E.2d at 205-07.

         Moreover, as outlined above, Defendants owed a duty to the County directly. But even if

Plaintiff were not owed this duty directly, West Virginia law is replete with examples of cases in which

a duty running to a third party can give rise to liability. See, e.g., Bragg, 741 S.E.2d at 96; Kizer v. Harper,

561 S.E.2d 368 (W. Va. 2001) (per curiam); Louk v. Isuzu Motors, Inc., 479 S.E.2d 911 (W. Va. 1996);

Robertson, 301 S.E.2d at 568-69. For example, Robertson, cited by Distributor Defendants, supports

Plaintiff’s position. In Robertson, the court found that defendants owed a duty to plaintiff when their

employee was forced to work over 27 hours and then crashed into plaintiff while driving home. The

defendants argued that they owed no duty as a matter of law, but the court disagreed, reversing a

directed verdict, because the defendants could have reasonably foreseen that their exhausted employee

would pose a risk to other motorists while driving home and “liability may be imposed regardless of

the existence of a relationship between the defendant and the party injured.” Robertson, 301 S.E.2d at

568-69.18 Similarly, the SAC alleges -- and a jury applying West Virginia negligence law could find --


18  Yourtee, supra, 474 S.E.2d at 620, cited by Distributor Defendants, is inapposite. There, the court examined
whether a common law duty existed and found that someone who is complicit in the theft of a car and crashes
it is not owed a duty from the car’s owner. The Court found that the plaintiff’s complicity in the theft was what
took him outside the scope of any duty owed. Id. Defendants do not and cannot contend that Plaintiff
committed any illegal acts or otherwise contributed to or caused its own injuries. Notably, the court refused to


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that Defendants should have and did foresee that if they lied about the safety of opioids, oversupplied

them and did not report or adequately respond to diversion, that serious harms would befall Plaintiff

and Plaintiff’s Community. [SAC ¶¶ 522-543; 569-578; 585-611; 938-949]

         Defendants also argue that they have no duty to protect against the deliberate criminal conduct

of third parties. [Dist. Mem. at 8; Mfr. Mem. at 9; Pharm. Mem. at 5] This misstates West Virginia law.

In Marcus v. Staubs, the Supreme Court of Appeals of West Virginia reaffirmed the principles of duty

and foreseeability delineated above, and rejected the contention that there is no duty to protect

someone from the intentional, criminal acts of third parties. 736 S.E.2d 360, 370-71 (W. Va. 2012).

Instead, the court held that it was a jury question whether the harm was foreseeable. Id. Other cases,

including those cited by Defendants, have held the same. See Miller v. Whitworth, 455 S.E.2d 821, 827

(W. Va. 1995) (duty will be imposed when a defendant’s acts or omissions have unreasonably created

or increased the foreseeable risk of injury from the criminal activity or intentional misconduct of a

third party); see also Strahin, 603 S.E.2d at 209 (when negligence concurred with intentional, criminal

acts jury must make determination if it was foreseeable that the conduct could have created an

unreasonable risk of harm).19

         In addition, Plaintiff’s allegations do not rely on the existence of criminal conduct. While

criminal conduct may have exacerbated the opioid crisis, the SAC states a negligence claim that is

rooted in the breach by Defendants of their duty of care regardless of the acts of non-parties. [SAC

¶¶ 463, 468-472; 931-34] Plaintiff alleges that Defendants themselves engaged in conduct which




adopt the absolute bar to proof of causation urged by Defendants here, id. at 621, and declined to address the
duty owed to third persons not involved in the illegal activity. Id. at 618, n.8.
19Ashworth v. Albers Med., Inc., cited by Manufacturer Defendants, also acknowledged the law on duty as
explained above and the exception, recognized by Miller, that under certain circumstances a person may have a
duty to protect others from the criminal activity of a third party, such as when their affirmative acts expose
others to a foreseeable high risk of harm from the intentional misconduct. 410 F. Supp. 2d 471, 479 (S.D. W.Va.
2005).


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foreseeably caused harm to Plaintiff. [See, e.g., SAC ¶¶142-46; 316-17; 453-55; 463-64; 466; 522-568;

585-613; 936]

                               b. Plaintiffs does not seek to enforce statutory duties.
         Plaintiff references federal and state statutes and regulations that Defendants have violated

not because Plaintiff seeks to enforce those statutes, but to help establish the standard of care owed

by Defendants under the common law. Defendants’ liability arises from their failure to use reasonable

care, not their violations of federal and state laws. In West Virginia, a violation of a statute is prima

facie evidence of negligence. See, e.g., Marcus, 736 S.E.2d at 368 (citing Anderson v. Moulder, 394 S.E.2d

61, 66-67 (W. Va. 1990)); Arbaugh v. Bd. of Educ., Cty. of Pendleton, 591 S.E.2d 235, 239 (W. Va. 2003);

Yourtee, 474 S.E.2d at 617. Similarly, violations of regulations are also prima facie evidence of

negligence. See Miller v. Warren, 390 S.E.2d 207, 209 (W. Va. 1990).20

         The federal and state laws define a standard of care for the underlying common law duty by

establishing how a reasonable manufacturer or distributor of dangerous drugs would behave. [SAC

¶480 (“State and federal statutes and regulations reflect a standard of conduct and care below which

reasonably prudent manufacturers and distributors would not fall.”)] “It is settled law that a statute or

regulation ... sets a floor of due care.” Miller, 390 S.E.2d at 209. In fact, West Virginia specifically

creates actionable duties based on a violation of a statute unless the statute explicitly bars such claims.

W. Va. Code § 55-7-9 (“[a]ny person injured by the violation of any statute may recover from the

offender such damages as he may sustain by reasons of the violation” unless a penalty for the violation

is expressly imposed instead of damages).



20The Manufacturer Defendants argue that West Virginia does not recognize the doctrine of negligence per se.
[Mfr. Mem. at 9-10] The case they cite, Gillingham v. Stephenson, does not say that, but instead confirms that in
West Virginia, “violation of a statute is prima facie negligence.” 551 S.E.2d 663, 670 (W. Va. 2001). Moreover,
another case that Defendants cite, Talley v. Danek Med., Inc., is not applying West Virginia law and acknowledges
that under the doctrine of negligence per se, violation of a statute constitutes conclusive evidence of negligence.
179 F.3d 154, 158 (4th Cir. 1999).


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         Federal law imposes a duty upon Defendants to, inter alia, “(a) limit sales within a quota set by

the DEA for the overall production of Schedule II substances like opioids; (b) register to manufacture

or distribute opioids; (c) maintain effective controls against diversion of the controlled substances that

they manufacturer or distribute; and (d) design and operate a system to identify suspicious orders of

controlled substances, halt such unlawful sales, and report them to the DEA.” [SAC ¶ 472. See also

SAC ¶¶ 465, 471-77] See also 21 U.S.C. §§ 823; 21 C.F.R. 1301.74(b). West Virginia imposes similar

duties. [SAC ¶¶ 950-55.] The SAC pleads these laws as part of its allegations that Defendants owed

Plaintiff a duty of due care to prevent prescription opioids from being marketed and distributed in

ways that would harm Plaintiff.21 See also Summit Opp. Mem. at 70-78.

                 2.       Plaintiff Properly Pled that Defendants Breached Their Duties.
         The Pharmacy Defendants argue that Plaintiff did not adequately plead they breached their

 duties and that the allegations that they failed to report suspicious orders are conclusory. But

 Plaintiff’s allegations provide multiple specific examples of how the Pharmacy Defendants (and the

 other Defendants) breached their duties by failing to control the supply chain, prevent diversion,

 report suspicious orders, and halt shipments of opioids they knew or should have known were

 indicative of serious problems of overuse. [SAC ¶485]

         For example, the SAC pleads that all the Defendants throughout the supply chain deliberately

 disregarded their duties to maintain effective controls and to identify, report and halt suspicious

 orders. [SAC ¶¶ 469, 493, 565, 567] They worked to inflate opioid quotas [SAC ¶¶ 493-496, 509-510,

 513-518, 567, 578], they kept track of prescribing data and knew about suspicious orders and

 prescribers [SAC ¶¶ 519-531, 568], they failed to report these suspicious orders [SAC ¶¶ 544-545,



21 The Pharmacy Defendants’ challenge the directives under CSA and WVCSA as “too vague to support civil
liability.” [Phar Def. at p.5, n.1] The challenge is itself too vague and conclusory to support dismissal. In any
event, as decision in Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206 (D.C. Cir. 2017), establishes, Courts
can and do interpret these acts to find violations.



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 567, 575-577], and they pretended to cooperate with law enforcement [SAC ¶¶ 552, 587-598, 600-

 607, 609-611, 946] Like the other Defendants, and in particular like other Distributors, the Pharmacy

 Defendants were in possession of national, regional, state and local prescriber- and patient-level data

 that allowed them to track prescribing patterns, putting them on notice of the problems of abuse

 and diversion, and yet they continued to flood U.S. communities, including Plaintiff’s, with opioids.

 [SAC ¶¶ 520-522, 565-568, 575-578, 585-613]

         Pharmacy Defendants argue that Plaintiff has not pled facts to show that they distributed any

 pills in Cabell County that were used for illegitimate purposes. [Pharm. Mem. at 6] That contention

 cannot be taken seriously given the numbers. As alleged in the SAC, based on the limited ARCOS

 data available to the public, from 2007 to 2012, the Distributors – including all of the Pharmacy

 Defendants – sold close to 40 million doses of prescription opioids to retailers in Cabell County

 (population of 96,319) and 780 million doses statewide – in a state with a population of 1.8 million.

 SAC ¶ 673, 674, 676.22 (Of those 40 million doses, approximately half were sold by the Pharmacy

 Defendants. [SAC ¶ 673]

         The sheer volume of prescription opioids distributed by Defendants “ exceeds, by orders of

 magnitude, any reasonably conceivable medical need of the community and facially suspicious. [See

 SAC ¶¶ 673, 674, 676-680] As the SAC alleges, these red flags are so obvious that no one who

 engages in the legitimate distribution of controlled substances can reasonably claim ignorance of

 them. [SAC ¶¶ 613-617, 644-648] The facts alleged in the SAC make plausible the Plaintiff’s

 allegations that Defendants inundated Cabell County with excess pills and failed to report suspicious

 orders in breach of their duties. [See SAC ¶¶ 936 939-941 944 957, 961, 963]




22Plaintiff also incorporates by reference the additional ARCOS data which is contained in the sealed version
of the SAC at ¶¶ 676-80.


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                3.       The SAC Sufficiently Pleads that Plaintiff's Injuries Were Proximately
                         Caused by the Defendants' Conduct.
                           a.    Plaintiff's injuries are sufficiently direct.
         Defendants assert that the Plaintiff’s injuries were not proximately caused by the Defendants’

conduct and that the direct injury test bars Plaintiff’s claims. [Pharm. Mem. at 6-8; Dist. Mem. at 11-

12] Plaintiff addresses these arguments together and incorporates Summit’s response regarding the

same. [Summit Opp. Mem. at 79-82]

         In West Virginia, proximate cause is defined as a cause of an injury “which, in natural and

continuous sequence, produces foreseeable injury and without which the injury would not have

occurred.” Hudnall v. Mate Creek Trucking, Inc., 490 S.E.2d 56, 61 (W. Va. 1997). Thus, the test requires

both foreseeable injury and but-for causation. Id. Again, a key question is foreseeability. “Negligence

to constitute the proximate cause of an injury ... must be such as can reasonably have been anticipated

by an ordinarily prudent person.”23

         Moreover, a plaintiff need only show that a defendant's breach of a particular duty of care was

a proximate cause of the plaintiff's injury, not the sole cause. Stephens v. Rakes, 775 S.E.2d 107, 117

(W. Va. 2015); Mays v. Chang, 579 S.E.2d 561, 565 (W. Va. 2003) (citing Everly v. Columbia Gas of West

Virginia, Inc., 301 S.E.2d 165 (W. Va. 1982) (emphasis in original)). In addition, questions of negligence

and proximate cause are jury questions not appropriate for a motion to dismiss. Mays, 579 S.E.2d at

565; Hatten v. Mason Realty Co., 135 S.E.2d 236 (W. Va. 1964).

         The cases cited by Defendants are distinguishable. Employer Teamsters-Local Nos. 175/505 Health

& Welfare Tr. Fund v. Bristol Myers Squibb Co., 969 F. Supp. 2d 463 (S.D. W. Va. 2013) and White v.

Wyeth, 705 S.E.2d 828 (W. Va. 2010) are not even negligence cases. In both cases the courts concluded



23Louk, 479 S.E.2d at 914-15 (cit. om.) See also Good v. Am. Water Works Co., Inc., No. CV 14-1374, 2016 WL
5402238, at *4 (S.D. W.Va. Sept. 26, 2016) (“[o]ne requisite of proximate cause is an act or omission which a
person of ordinary prudence could reasonably foresee might naturally or probably produce an injury, and the
other requisite is that such act or omission did produce the injury.” (cits. om.)).


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that because there were not specific allegations as to who received the misrepresentations or how the

misrepresentations influenced doctors, the allegations were deficient as to causation. See Employer

Teamsters, 969 F. Supp. 2d at 475 (dismissing breach of implied warranty and unjust enrichment); White,

705 S.E.2d at 831 (dismissing statutory consumer fraud action because plaintiffs failed to alleged that

their doctors ever received, read or relied upon the alleged misrepresentations).

         By contrast, in this case, Plaintiff has set forth numerous facts from which a jury could

conclude that Defendants’ acts and omissions were a proximate cause of Cabell’s injury. [SAC ¶¶ 520-

530, 544, 565, 567-568, 577-617, 644-49, 651, 662-698, 935-949, 955-957, 961, 963-96624] In addition,

the SAC clearly identifies foreseeable harms caused by the breach of the duties owed by Defendants,

including the municipal costs it was forced to incur as a result the opioid crisis. [See, e.g., SAC ¶¶ 469,

630-649, 651, 660-698, 935-949, 955-957, 961, 963-966.] Without the Defendants’ acts, Plaintiff’s

injuries would not have occurred. Based on the SAC, a properly instructed jury could conclude that

that Defendants’ acts in negligently marketing and failing to control the supply of dangerous drugs

caused the opioid epidemic that is ravaging Plaintiff’s Community.

                           b.    The acts of third parties do not break the causal chain.
         Defendants claim that their conduct was too remote from the opioid epidemic, in contrast

with the criminal conduct of numerous actors that lead to the opioid abuse and incorporate arguments

from their Summit County brief. [Pharm. Mem. at 8; Mfr. Mem. at 5, n.14, Mfr. Mem. at 7 n.16]

Plaintiff incorporates Summit’s responsive argument. [Summit Opp. Mem. at 82-85] See also § I.B. at

9-10 and §I.C.1.a. at 16-17, above.




24 The SAC also sufficiently alleges that the Manufacturer Defendants breached their additional duties by
increasing the demand for opioids by disseminating false and misleading information about the risks and
benefits of these drugs and that those breaches caused Plaintiff’s injuries. [SAC ¶¶ 142-437, 453-62, 629-72,
937, 940]


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         As with the concept of duty under West Virginia law, the acts of third parties do not break the

chain of causation - unless their negligence “constitutes a new effective cause and operates independently

of any other act, making it and it only, the proximate cause of the injury. Marcus, 736 S.E.2d at 372 (cit. om.)

(emphasis added). Even a criminal act by a third party does not defeat causation under West Virginia

law. Marcus, 736 S.E.2d at 372.25, 26

         D.      Plaintiff Has Properly Pled a Claim for Fraud Against the Manufacturer
                 Defendants.
         In 557 paragraphs of specific and thorough pleadings, the Complaint identifies the Marketing

Defendants’ multiple falsehoods [SAC ¶¶ 142-315], and the dissemination of these falsehoods through

multiple channels [SAC ¶¶ 316-628], specifically including in West Virginia and in Cabell County.

[SAC ¶¶ 629-698] The SAC alleges that the Marketing Defendants “intended and had reason to

expect” that “Plaintiff, Plaintiff’s agents,” “and persons on whom Plaintiff and its agents relied would

be deceived by” the Marketing Defendants’ false representations and concealments, that Defendants

“intended and knew that … reasonable and rightful reliance would be induced by these Defendants’

misrepresentations and omissions” and “cause Plaintiff to suffer loss,” and that Plaintiff, through its

agents and persons on whom Plaintiff and its agents relied, in fact relied on the misrepresentations

and omissions, thereby incurring expenditures and sustaining injuries. [SAC ¶¶ 983-990] The SAC




25See Osborne v. United States, 166 F. Supp. 2d 479, 498 (S.D. W.Va. 2001) (court rejected the contention that the
plaintiffs could not show proximate cause in a case against a doctor who overprescribed narcotics to a drug
abuser who then drove while impaired and injured plaintiffs. The doctor’s actions were a proximate cause of
the accident because it was foreseeable that his patient would abuse the medications and possibly drive while
intoxicated. The patient’s criminal acts did not prevent the doctor from being found negligent). See also, Yourtee,
474 S.E.2d at 621 (criminal acts break the causal chain only when they are unforeseeable).
26 Contrary to Manufacturers’ claim, the causal chain for environmental contamination caused by discarded
“used needles” in public parks is not severed as is foreseeable that addiction to the manufacturers’ products
would lead to the use of comparable drugs, i.e. heroin, which is delivered via needles and commonly discarded
on public property. Notably, Manufacturers do not dispute that these damages do not fall within the economic
loss rule.



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states a claim for fraud. Reliance and fraud are issues of fact,27 and are therefore inappropriate for

resolution in a Rule 12(b)(6) motion.28

         Defendants nonetheless assert that the fraud claim fails, primarily for reasons addressed

elsewhere. [Mfr. Mem. at 10] For the reasons addressed in §§ I.B. and II.B of this brief and Summit’s

Opp. Mem. at 90-92, Defendants’ arguments are unfounded.

         The Marketing Defendants also incorrectly contend that the SAC allegedly did not plead

reliance by the Plaintiff. [Mfr. Mem. at 10] This allegation is easily disposed of on the face of the

pleadings.29 Because Plaintiff did plead its reliance, Defendants’ argument that third party reliance is

insufficient is unavailing here.

         Independently, the cases cited by the Marketing Defendants do not immunize them from

fraudulent representations upon which the Plaintiff relied merely because those statements were made

in the first instance to third parties. Rather than supporting Defendants’ argument, Lengyel v. Lint, 280

S.E.2d 66, 70 (W. Va. 1981), explains that the court “has never directly addressed the issue of a real

estate agent’s liability to a third party or purchaser for fraud,” that such liability often turns on the

particular facts, and “that there are situations in which a real estate agent may be liable to a purchaser




27 See Miller v. Premier Corp., 608 F.2d 973, 982 (4th Cir. 1979) (reliance and its reasonableness “are preeminently
factual issues for the trier of fact.”) (case decided under South Carolina law); Hodell-Natco Industries, Inc. v. SAP
Am., Inc., 13 F. Supp. 3d 786, 811 (N.D. Ohio 2014) (reasonable reliance issue best left to trier of fact) (citing
Miller v. Premier and collecting other cases); Brozik v. Parmer, No. 16-0292 et al., 2017 WL 65475, at *8 (W. Va.
Jan. 6, 2017) (declining to “usurp the role of the jury” in determining fraud); Radec, Inc. v. Mountaineer Coal
Development Co., 552 S.E.2d 377, 382 (W. Va. 2000) (fraud was properly a question for the jury); Kessel v. Leavitt,
511 S.E.2d 720, 757 n. 38 (W. Va. 1998) (fraud is generally a fact question) (citation omitted).
28 See Greenberg v. Life Ins. Co. of Va., 177 F.3d 507, 516-17 (6th Cir. 1999) (as discussed at Summit Opp. Mem.
at 91).
29 SAC ¶ 985 (expressly alleging that “Plaintiff … did in fact rightfully, reasonably, and justifiably rely on
Marketing Defendants’ representations and/or concealments . . . .”); ¶ 986 (Plaintiff’s reliance on Defendants’
misrepresentations caused Plaintiff to “misapprehen[d] that the opioid crisis was simply a result of conduct by
persons other than Defendants,” thereby “prevent[ing] Plaintiff from a more timely and effective response to
the opioid crisis.”).


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in an action for fraud. A real estate agent is not, as a matter of law, always insulated from such liability.”

Lengyel thus contradicts rather than supports Defendants’ argument.30

         Subsequently, the West Virginia Supreme Court reversed a defense verdict in an action for

fraud against an accounting firm, finding an error in the jury charge. Cordial v. Ernst & Young, 483

S.E.2d 248 (W. Va. 1996). The court noted that privity was not required in a negligence action against

an accountant who knew his reporting would be relied upon.31 More recently, the court held that the

fact that a third party was the beneficiary of an oral promise did not defeat a fraud in the inducement

claim.32 Thus, to the extent that this issue has been resolved in West Virginia jurisprudence, the court

has not limited the scope of fraud actions to only those representations made directly to a plaintiff.

         The prevailing rule, as reflected in Restatement (Second) of Torts § 533, is that direct

communication between the parties is not a required element of fraud. The Fourth and Sixth Circuits

have consistently applied it where state courts have not directly addressed this issue.33




30Defendants also misplace reliance on Legg v. Johnson, Simmerman & Broughton, L.C., 576 S.E.2d 532, 539 (W.
Va. 2002), and Belville v. Ford Motor Co., 13 F. Supp. 3d 528, 545 (S.D. W. Va. 2014). Neither addressed the issue
of misrepresentations to third parties.
31 483 S.E.2d at 260 (“in a negligence action, we held that ‘[i]n the absence of privity of contract, an accountant
is liable for the negligent preparation of a financial report to those he knows will be receiving and relying on
the report.’”) (citing Syllabus, First National Bank of Bluefield v. Crawford, 386 S.E.2d 310 (W. Va. 1989)).
32 Traders Bank v. Dils, 704 S.E.2d 691, 697-98 (W. Va. 2010) (“we hold that the maker of a promissory note has
standing to assert a tort claim of fraud in the inducement as a defense and/or a counterclaim in response to the
lender’s attempt to recover a debt on the promissory note where the maker can demonstrate reliance to his
financial detriment upon the oral promise of the lender, which the lender had no contemporaneous intention
of fulfilling, and notwithstanding the fact that a third party was the beneficiary of the oral promise.”).
33Sempione v. Provident Bank of Maryland, 75 F.3d 951, 962 (4th Cir. 1996) (“We believe that the Maryland courts
would not require Provident to have communicated with BDS in order to be held liable for fraud. Though the
Maryland courts have not directly addressed the issue, the prevailing rule” is Restatement (Second) of Torts §
533.); National Bank of Savannah v. Kershaw Oil Mill, 202 F. 90, 96 (4th Cir. 1912) (privity not a requirement in
the context of fraud; true test was whether defendants knowingly allowed false statements to pass through
channels of commerce, falling into the hands of a third party) (generally citing cases from several jurisdictions
but presumably decided under South Carolina law); Nernberg v. Pearce, 35 F.3d 247, 251 (6th Cir. 1994) (same;
decided under Michigan law).


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         E.     Plaintiff Has Properly Pled an Unjust Enrichment Claim.
         Defendants seek to dismiss Plaintiff’s claim for unjust enrichment for the same reasons argued

elsewhere, and/or because Plaintiff allegedly did not confer a benefit directly on Defendants. [Dist.

Mem. at 8; Mfr. Mem. at 11; Pharm. Mem. at 9] Defendants’ arguments can be rejected for the reasons

advanced in prior briefing. [Summit’s Opp. Mem. at 95-99; Chicago Opp. Mem. at 41-42]

         Count Six properly pleads unjust enrichment under West Virginia law. The elements of an

unjust enrichment claim are “(1) a benefit conferred upon the [defendant], (2) an appreciation or

knowledge by the defendant of such benefit, and (3) the acceptance or retention by the defendant of

the benefit under such circumstances as to make it inequitable for the defendant to retain the benefit

without payment of its value.” Employer Teamsters-Local, 969 F. Supp. 2d at 471 (quotation marks &

citation omitted). The SAC explains that the cost of Defendants’ wrongful conduct in selling and

distributing opioids includes inter alia increased healthcare services and addiction treatment for opioid

users. [SAC ¶¶ 997-998, 1000, 1006] These costs are part of Defendants’ business, yet Defendants are

not paying for them. Plaintiff does, and these costs are “not part of the normal and expected costs of

a local government’s existence.” [SAC ¶ 1005] By using Plaintiff to fund Defendants’ negative

externalities (i.e., the cost of the harms caused by their wrongful practices), Defendants knowingly

saved on expenses, thereby allowing them to sell and distribute more opioids, and make more money,

than if they had internalized the actual cost of their activities. [SAC at ¶¶ 1001-1006] Defendants have

thereby received a benefit unjustly financed by the Plaintiff.34

         Defendants’ contention that a direct, transactional relationship is a prerequisite for unjust

enrichment is unfounded because West Virginia law does not mandate a direct relationship between

the parties. See Absure, Inc. v. Huffman, 584 S.E.2d 507, 510-11 (W. Va. 2003) (improper indirect



34Defendants’ reliance on Hill v. Stowers, 680 S.E.2d 66, 75 (W. Va. 2009), is misplaced because there, unlike
here, the plaintiff was not the payor of the benefits at issue.


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payment could be basis for unjust enrichment, and “a third party connected with a transaction may

seek restitution where there is unjust enrichment which resulted from the third party satisfying an

obligation of the unjustly enriched party”) (citing Prudential Ins. Co. v. Couch, 376 S.E.2d 104 (W. Va.

1988)); Dunlap v. Hinkle, 317 S.E.2d 508, 512 n.2 (W. Va. 1984) (“unjust enrichment does not

necessitate a finding of privity of contract between the parties.”) (citations omitted).35 “[I]f benefits

have been received and retained under such circumstance that it would be inequitable and

unconscionable to permit the party receiving them to avoid payment therefor, the law requires the

party receiving the benefits to pay their reasonable value.” Realmark Developments, Inc. v. Ranson, 588

S.E.2d 150, 153 (W. Va. 2003) (quotation marks & citation omitted). For these purposes, a plaintiff

need not prove that it wrote a check or delivered goods to the defendants. “A person may be unjustly

enriched not only where he receives money or property, but also where he otherwise receives a benefit.

He receives a benefit ... where he is saved expense or loss.” Prudential Ins., 376 S.E.2d at 109 (citation

marks & citation omitted). Plaintiff’s pleadings here thus comport with West Virginia law.

         Consistently, federal and state cases nationwide recognize that defendants are unjustly

enriched where, as here, a plaintiff must bear the cost of negative externalities that defendants caused,

and that this is true even where the plaintiff is a “third party.” See Summit’s Opp. Mem. at 96-98

(collecting cases, including regarding pollution costs).




35Contrary to the Distributor Defendants’ suggestion, Johnson v. Ross, 419 F. App’x 357, 362 (4th Cir. 2011), did
not resolve the issue of whether unjust enrichment requires a direct benefit, but rather held that regardless, the
defendant was shielded from liability by a corporate veil. Defendants quote a sentence in Johnson criticizing
plaintiffs there for failure to cite a case regarding indirect receipt (Dist. Mem. at 8); however, that litigation
focused on other issues and neither Absure nor Dunlap were cited in the Johnson plaintiffs’ briefs. See Op. Br. of
Appellants in Johnson v. Ross, 2010 WL 1048981 (filed in 4th Cir. March 22, 2010); Reply Br. in Johnson v. Ross,
2010 WL 2147834 (filed in 4th Cir. May 27, 2010).


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         Finally, contrary to the Marketing Defendants’ argument, West Virginia law does not require

dismissal of unjust enrichment claims based on dismissal of underlying tort claims. See Employer

Teamsters-Local, 969 F. Supp. 2d at 471.36

         F.      Plaintiff Has Properly Pled a Claim for Civil Conspiracy.
         Defendants’ heavy reliance on cross-references to their Summit briefing [Mfr. Mem. at 11-12;

Dist. Mem. at 9], are rebutted in turn in the Summit Opp. Mem. at 99-105. Defendants’ arguments

that the underlying tort claims allegedly fail [Mfr. Mem. at 11; Dist. Mem. at 9; Pharm. Mem. at 13]

are unfounded for the reasons catalogued above. Defendants’ West Virginia case citations are rebutted

below.

                          1. Civil Conspiracy Is a Separate Cause of Action.

         Contrary to the Marketing Defendants’ argument,37 the West Virginia Supreme Court has long

“recognized conspiracy as a separate claim.” Jane Doe-1 v. Corporation of President of The Church of Jesus

Christ of Latter-day Saints, 801 S.E.2d 443, 458 (W.V a. 2017) (citing Dunn, 689 S.E.2d at 268; Kessel v.

Leavitt, 511 S.E.2d 720, 753 (W. Va. 1998)); see also Kessel, 511 S.E.2d at 753 (“The law of this State

recognizes a cause of action sounding in civil conspiracy”).38 Underscoring this point, the court last


36The ultimate result in Employer Teamsters-Local is distinguishable because it turned on the court’s interpretation
of particular pleadings regarding third party payors and the mechanism of payments made for insureds’
prescription drugs. Cf. Midwestern Midget Football Club Inc. v. Riddell, Inc., No. 2:15-00244, 2016 WL 3406129, at
*7 (S.D. W. Va. June 17, 2016) (distinguishing Employer Teamsters-Local where the complaint plainly alleged
misleading statements and purchases). Ash v. Allstate Ins. Co., No. 12-1533, 2013 WL 5676774, at *5 (W. Va.
Oct. 18, 2013), is distinguishable because there, “[f]rom the face of petitioner’s complaint, it [was] clear that his
unjust enrichment claim arises from an express contract” and the plaintiff’s insurance contract interpretation
had been rejected in a prior case that had res judicata effect.
37 Marketing Defendants, through ellipses, deleted the qualifier “per se” from a quote in a case addressing the
statute of limitations applicable to conspiracy. Mfr. Mem. at 11 (deleting the words “per se” from a sentence in
Dunn v. Rockwell, 689 S.E.2d 255, 269 (W. Va. 2009)). See Proffitt v. Greenlight Financial Services, No. 2:09-1180,
2011 WL 1485576, at *4 (S.D. W. Va. April 19, 2011) (rejecting argument that Dunn prohibits civil conspiracy
as a cause of action) (citation omitted); Holmes v. Runyan & Assoc., Inc., No. 2:09-0679, 2010 WL 2218698, at *3
(S.D. W. Va. June 2, 2010) (“The language in Dunn does not suggest that civil conspiracy is not a permissible
cause of action generally.”).
38 In fact, one of the decisions cited by the Marketing Defendants explains that, “West Virginia recognizes a
cause of action for civil conspiracy.” Bennett v. Skyline Corp., No. 1:14CV129, 2014 WL 4996275, at *7 (N.D. W.
Va. Oct. 7, 2014) (citing Kessel, 511 S.E.2d at 753). Decisions cited by the Pharmacy Defendants expressly


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year rejected a defendant’s argument that a civil conspiracy claim was allegedly inseparable from the

underlying torts, explaining that, “[t]he fact that a civil conspiracy claim requires an underlying tort or

harm resulting from the conspiracy does not make it any less a claim that can be disposed of separately

from the remaining causes of action.” Jane Doe-1, 801 S.E.2d at 458. The court cited Ohio

jurisprudence in support of the reasoning that, “‘[w]hen the mischief is accomplished, the conspiracy

becomes important, as it affects that means and measure of redress;’ … [A] conspiracy claim ‘enlarge[s]

the pool of potential defendants from whom a plaintiff may recover damages and, possibly, an increase

in the amount of those damages[.]’” Id. (quoting Gosden v. Louis, 687 N.E.2d 481, 497-98 (Ohio Ct.

App. 1996); brackets in Jane Doe-1).

                          2. Defendants Improperly Heighten the Pleading Standard.

         As explained in previous briefing [Summit Opp. Mem. at 99-100], Defendants improperly

assert a heightened pleading standard. Conspiracy is not among the categories subject to heightened

pleading pursuant to Federal Rule of Civil Procedure 9(b), which requires that fraud and mistake be

stated with particularity but that malice, intent, knowledge and other mental conditions “may be alleged

generally.” Accordingly, courts do not require that averments of conspiracy meet the heightened

pleading standard of Rule 9(b).39




recognize that, under West Virginia case law, a corporation can “be sued for torts such as civil conspiracy.”
Ridgeway Coal Co., Inc. v. FMC Corp., 616 F. Supp. 404, 409 (S.D. W. Va. 1985); see also Hays v. Bankers Trust Co.
of California, 46 F. Supp. 2d 490, 497-98 (S.D. W. Va. 1999) (denying summary judgment on civil conspiracy
claim and citing Kessel).
39 See Alig v. Quicken Loans, Inc., No. 5:12-cv-114 et al., 2015 WL 13638324, at *4 (N.D. W. Va. Feb. 18, 2015)
(“Although Hyett states that conspiracy claims must meet the heightened pleading standard of Fed. R. Civ. P.
9(b), the authority Hyett relies upon does not address this issue. . . . A review of the decisions in Ash and Dixon
also fail to support this proposition.”) (citing Ash v. Allstate Ins. Co., No. 12-1533, 2013 WL 5676774, at *5 (W.
Va. Oct. 18, 2013) (unpublished); Dixon v. American Indus. Leasing Co., 253 S.E.2d 150, 152 (W. Va. 1979)).




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        Contrary to the Distributor Defendants’ suggestion [Dist. Mem. at 9], the court in Stratton v.

Arch Coal, Inc., No. 5:16-cv-12204, 2017 WL 2312840, at *5 (S.D. W. Va. May 26, 2017), did not state

that civil conspiracy must be pled with particularity; rather, the Stratton pleadings failed for the

distinguishable reason that, “at no point [did] the Plaintiff allege any agreement between the named

Defendants wherein they attempt to accomplish some purpose, lawful or unlawful.” Nor does the

decision in Ash v. Allstate Ins. Co., 2013 WL 5676774, at *5, require that conspiracy be pled with

particularity; instead, the court stated that at least two persons must conspire and that “at least

circumstantial evidence” of the same objective and agreement is required. Similarly, in Wenmoth v.

Duncan, No. 3:08-CV-182, 2009 WL 2707579, at *5 (N.D. W. Va. Aug. 26, 2009), aff’d per curium, 382

F. App’x 271 (4th Cir. 2010), the court did not require particularity, but rather found that, “[a]t best

the plaintiff offers speculation and conjecture, which is not sufficient.” Finally, the decision in Heavener

v. Quicken Loans, Inc., No. 3:12-CV-68, 2012 WL 13028627, at *3 (N.D. W. Va. Nov. 7, 2012), may

have found that fraud and false representations should be stated with particularity, but as to how the

parties conspired, the court’s criticism was that the plaintiff alleged “mere legal conclusions rather

than facts.” In short, Defendants’ argument incorrectly conflates fraud with conspiracy.

                        3. The SAC Properly Pleads a Civil Conspiracy as Defined in West
                           Virginia Jurisprudence.

        “A claim for civil conspiracy under West Virginia law is a ‘combination to commit a tort.’”

Roney v. Gencorp, 431 F. Supp. 2d 622, 637 (S.D. W. Va. 2006) (quoting Hays, 46 F. Supp. 2d at 497). A

civil conspiracy is actionable if “defendants have committed some wrongful act or have committed a

lawful act in an unlawful manner to the injury of the plaintiff.” Kessel, 511 S.E.2d at 754 (quotation

marks and citations omitted); see also Dixon, 253 S.E.2d at 152 (“a civil conspiracy is a combination of

two or more persons by concerted action to accomplish an unlawful purpose or to accomplish some

purpose, not in itself unlawful, by unlawful means”). “Additionally, individuals who have conspired




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with one another to orchestrate and/or carry out a fraudulent plan or scheme can be held liable for

their conduct.” Kessel, 511 S.E.2d at 754. Conspiracy is a fact issue appropriate for jury resolution.40

         The SAC contains numerous paragraphs setting forth the distribution combination as to all

Defendants. [SAC ¶¶ 565-584, 712-718, 855-886, 1008-1022] Defendants engaged in a civil conspiracy

to unlawfully and tortiously market and distribute opioids, including through failure to abide by their

prevention and monitoring duties, misrepresentation, and fraud. [SAC ¶¶ 1009-1013] Here, “each

Defendant acted directly against their commercial interests in not reporting the unlawful distribution

practices of their competitors to the authorities, which they had a legal duty to do.” [SAC ¶ 1016]

Defendants’ combined efforts to inflate the opioid quotas – in contravention of their legal duties –

are detailed in the SAC. [SAC ¶¶ 477, 493-551] Plaintiff further describes how Defendants, through

their participation in trade associations, worked together to mislead the public regarding Defendants’

commitment to complying with their legal obligations and safeguarding against diversion. [SAC ¶¶

557-58, 560] As additional examples of the raft of conduct chronicled in the SAC, the Defendant co-

conspirators deliberately concealed their knowledge of each other’s wrongdoing. [SAC ¶¶ 721-23]

These detailed allegations exceed far beyond the parallel acts consistent with marketplace competition

at issue in Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007). See also Summit Opp. Mem. at 102-05 (listing

additional allegations also contained in Cabell County SAC).

         Finally, the Pharmacy Defendants repeat the inaccurate argument that the SAC omits

allegations against them and solely pertains to the Marketing Defendants. See Pharm. Mem. at 12. This

contention ignores allegations specific to the pharmacies and their wrongdoing [e.g., inter alia, SAC ¶¶


40 See generally, e.g., Theatre Enterprises, Inc. v. Paramount Film Distributing Corp., 346 U.S. 537, 542 (1954) (evidence
“raised fact issues requiring the trial judge to submit the issue of conspiracy to the jury”); Frey & Son v. Cudahy
Packing Co., 256 U.S. 208, 210 (1921) (“whether there existed an unlawful combination or agreement between
the manufacturer and jobbers was a question for the jury to decide”); Windsor Theatre Co. v. Walbrook Amusement
Co., 189 F.2d 797, 798 (4th Cir. 1951) (“Whether a conspiracy in restraint of trade exists is a question of fact.”);
Knapp v. Americredit Financial Services, Inc., 245 F. Supp. 2d 841, 853 (S.D. W. Va. 2003) (denying summary
judgment and stating that conspiracy was a jury issue).


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482, 557, 565-617, 673, 678-679], and allegations including the pharmacies [e.g., inter alia SAC ¶¶ 465,

468-471, 494-497, 520-524, 557-558, 712-718, 1008-1022]. Among other things, the pharmacies

participated with the other Defendants in the financially incentivized, improper exchange of

information. [SAC ¶¶ 495, 565] The national pharmacy chains “were keenly aware of the oversupply”

and in breach of mandatory duties “participate[d] in the oversupply” for profit and provided the other

Defendants with data. [SAC ¶¶ 565, 568] The Pharmacy Defendants also failed to use data available

to them to identify doctors who were writing suspicious orders, even while maintaining extensive data

on the opioids that they distributed and dispensed. [SAC ¶¶ 568, 580] In short, the SAC includes

descriptions of the pharmacies’ knowing participation in the exchange of information with other

Defendants, and the abdication of mandatory duties, comprising the wrongful distribution of

dangerous drugs on a massive scale nationally, and specifically in Cabell County, West Virginia.

II.     Defendants’ Other Arguments for Dismissal of Multiple Claims Also Lack Merit.
        A.       Plaintiff Has Standing to Bring its Claims.
        The Defendants contend that Plaintiff lacks standing to bring its claims, incorporating their

arguments in the Summit County case that a plaintiff such as the County may not regulate matters of

“statewide concern.” [Mfr. Mem. at 1-2, Pharm. Mem. at 2-3] Plaintiff incorporates Summit’s response

herein. [Summit Opp. at 105-114] Plaintiff also incorporates its response to Cardinal Health’s

separately filed Motion to Dismiss [ECF No. 579] which will be filed contemporaneously with this

brief. It is clear that the Defendants’ argument misapprehends both West Virginia law and the

Plaintiff’s claims.

        In this case, Plaintiff’s standing to bring the claims in the SAC is specifically granted by law.

Counties are explicitly vested with the power of “superintendence and administration of the internal




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police and fiscal affairs of their counties.”41 West Virginia Constitution Art. IX. Indeed, Counties are

specifically “authorized to enact ordinances, issue orders and take appropriate and necessary actions

for the elimination of hazards to public health and safety and to abate or cause to be abated anything

which the commission determines to be a public nuisance.” W. Va. Code § 7-1-3kk. In this case,

Plaintiff passed a resolution declaring the unlawful distribution of prescription pain pills a public

nuisance and brought this suit against the Defendants seeking damages to eliminate the hazard to

public health and safety as well as to abate, or cause to be abated, the public nuisance. Plaintiff not

only seeks to abate the public nuisance but also seeks to recover damages for costs that it has sustained

as a direct result of the Defendant’s activities. Plaintiff’s action relates directly to the County’s power

“of superintendence and administration of the internal police and fiscal affairs” of the County.

         The Defendants’ claim that the Plaintiff cannot rely on its general grant of authority to abate

nuisances under the statute relies on cases that are clearly distinguishable. In EQT Prod. Co. v. Wender,

191 F. Supp. 3d 583, 588 (S.D. W. Va. 2016), the natural gas companies brought action against county

commissioners, seeking declaration of preemption and a permanent injunction to enjoin enforcement

of county ordinance prohibiting storage of wastewater. Id. at 592. The County Commission had passed

an ordinance which effectively outlawed horizontal drilling anywhere in Fayette County. Id. The Court

recognized that “‘the fact that the state has entered into the field of regulating [particular conduct] by

license’ does not preclude local governments from also licensing such conduct so long as the local

ordinance ‘conforms with, and is not in conflict with[,] state law.’” Id. at 597 (cit. om.); see also City of

Morgantown v. Nuzum Trucking Co., 786 S.E.2d 486 (W. Va. 2016). However, the Court noted that

“[w]hen a municipal ordinance is opposed to the policy of the state in relation to the subject-matter

thereof and in conflict with the statute of the state in relation thereto, the ordinance is void to the


41See also Plaintiff’s Response to Cardinal Health’s Motion to Dismiss (refuting the claim that the County is an
agent of the State).


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extent of its conflict with the statute and should not be enforced.” EQT Prod. Co., 191 F. Supp. 3d at

599.

        In this case, the Plaintiff is not seeking to legislate “in conflict with the State,” rather, the

Plaintiff is seeking to abate the public health and safety hazards in accordance with state law. The

Plaintiff is not seeking to ban the lawful distribution of opioids. Defendants’ activities are pled to be

in contravention of state and federal law. It is that illegal activity that is the basis for the claims here.

        Contrary to the Defendants’ claims, neither the CSA nor the WVCSA preclude the County

from pursuing the causes of action set forth in these matters under the authority provided under West

Virginia Code § 7-1-3kk. Nor does the alleged “comprehensive regulatory scheme” occupy the field

of prescription drug regulation so as to preempt any attempts at local regulation, including through

litigation. Rather, both the CSA and WVCSA recognize specifically recognize that they are not

exclusive remedies. The CSA, 21 U.S.C.A. § 903, explicitly preserves state law:

        [n]o provision of this subchapter shall be construed as indicating an intent on the part
        of the Congress to occupy the field in which that provision operates, including criminal
        penalties, to the exclusion of any State law on the same subject matter which would
        otherwise be within the authority of the State, unless there is a positive conflict
        between that provision of this subchapter and that State law so that the two cannot
        consistently stand together.

        Similarly, the WVCSA specifically provides that any penalty imposed for violation of the

WVCSA is “in addition to, and not in lieu of, any civil or administrative penalty or sanction otherwise

authorized by law.” W. Va. Code § 60A-4-404. Thus, the fact that the U.S. Attorney General and the

West Virginia Board of Pharmacy are granted authority over the application of the provisions, and

administrative promulgation of rules, regulations and other procedures under the CSA (21 U.S.C.A.

§§ 811, 821, 871) and WVCSA (W. Va. Code § 60A-2-201) does not preclude the Plaintiff from filing

causes of action authorized under W. Va. Code § 7-1-3kk.

        The Defendants’ reliance on City of Huntington v. State Water Comm’n, 73 S.E.2d 833 (W. Va.

1952) and Delardas v. Morgantown Water Comm’n, 137 S.E.2d 426 (W. Va. 1964) is misplaced. City of

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Huntington involved an order from the State Water Commission requiring “a municipal corporation to

cease and desist from polluting the waters of certain designated rivers” and “to install, use and operate

a practical and reasonably available system or means to reduce such pollution to an acceptable

minimum.” Id. at 835. City of Huntington dealt with the police power of the State to compel

municipalities “to perform certain duties of state concern” as expressed by state law enactments that

would preempt conflicting municipal enactments. Id. at 842. Similarly, Delardas involved a conflict

between state law which allowed the Public Service Commission to promulgate sewer rates upon filing

with the commission and a municipal ordinance which required a special election first be held. Id. at

428-29. Delardas centered on the Public Service Commission’s vested jurisdiction and powers to

regulate and control the public utilities in the State, including ones operated by municipalities. The

court held that, when there was a conflict, the municipality’s laws would have to give way to state law.

Here, the Plaintiff’s exercise of its legislatively granted power is consistent with and not in conflict

with state law and policy.

        The cases relied on by the Defendants do not stand for the proposition that a County does

not have standing to pursue claims that fall squarely within the powers and authority granted to it by

the Constitution and Legislature. Contrary to Defendants’ claims, the Plaintiff’s lawsuit does not usurp

any statewide authority vested in the State. Neither is Plaintiff’s standing impacted by the State

Attorney General’s prior lawsuits. The Plaintiff incorporates its response to Cardinal Health’s Motion

to Dismiss which provides a detailed discussion of the Plaintiff’s authority to bring suit in contrast

with the Attorney General’s power and authority.

        B.      Plaintiff’s State Law Claims Are Not Preempted.
        The Manufacturing Defendants’ argument that Plaintiff’s state law claims are preempted

incorporates the argument asserted in their brief in Summit County. [Mfr. Mem. at 5] Plaintiff

incorporates Summit’s response as if set forth herein. [Summit Opp. Mem. at 114-122]



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         C.        The Free Public Services Doctrine Does Not Bar Plaintiff’s Claims.
         The Defendants next argue that Plaintiff’s claims are barred by the “free public service

doctrine” which they claim requires the Plaintiff’s taxpayers to bear the burdens of Defendants’

decision to profit from illegally flooding the County with opioids. [Dist. Mem. at 10-11; Pharm. Mem.

at 14-15] Plaintiff incorporates the City of Chicago’s response on this issue. [Chicago Opp. at 36-37]

         Separate and apart from the City of Chicago response, in this case, the free public services

doctrine, or the municipal cost recovery rule as it also known, is entirely inapplicable because it has

never been accepted in West Virginia. Indeed, in the cases brought against the Distributor Defendants

by the State of West Virginia, the trial court rejected motions to dismiss based on this doctrine. See,

e.g., Morrisey v. Cardinal, ECF No. 580-7 at 33-34; Morrisey v. AmerisourceBergen, 2014 WL 12814021 at 34-

36.

         These decisions are part of a trend rejecting the application of the free public services doctrine.

A number of cases have rejected the doctrine as an absolute bar. James v. Arms Tech., Inc., 820 A.2d 27,

49 (N.J. App. Div. 2003); Cincinnati v. Beretta U.S.A. Corp.,768 N.E.2d 1136, 1149 (Ohio 2002); City of

Gary ex rel. King v. Smith & Wesson Corp., 801 N.E.2d 1222, 1243 (Ind. 2003); City of Boston v. Smith &

Wesson Corp., No. 199902590, 2000 WL 1473568 (Mass. Super. July 13, 2000). Commentators have

criticized the doctrine on grounds of fairness and equity.42 The court in James v. Arms Tech., Inc.,

rejected the doctrine in its entirety based on these criticisms:


42See T. Lytton, Should Government Be Allowed to Recover the Costs of Public Services From Tortfeasors?: Tort Subsidies, the
Limits of Loss Spreading, and the Free Public Services Doctrine, 76 Tulane L. Rev. 727, 728 (2002) (free public services
rule “should be eliminated” because it “shields industrial tortfeasors from liability ..., constitutes a tort subsidy
to industry and functions as an insurance scheme for industrial accidents paid for by taxpayers.”); id. at 759
(rule “unjustifiably favors tortfeasors who harm government as compared to those who harm private parties”
and then “imposes the losses caused by this favored class of tortfeasors on taxpayers.”); id. at 766 (with rule
industrial tortfeasors have no incentive to purchase general liability insurance to cover the cost of the public
services); D. McIntyre, Tortfeasor Liability for Disaster Response Costs: Accounting for the True Cost of Accidents, 55
Fordham L. Rev. 1001, 1005-06 (1987) (rule “may not be the most equitable solution to the problem ... in
modern society,” given the “recent cuts in federal revenue-sharing programs” and “local municipalities ... facing
very tight budgets”).



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         Here, if the City has a worthy claim, application of the Municipal Cost Recovery Rule
         leaves it without a remedy. If tortious conduct exists, the consequence is that the gun
         manufacturers are subsidized for their wrongful acts, and the cost of the governmental
         services must be borne by the taxpayers of the City. This result is fundamentally unfair,
         given the City's limited resources and strained ability to provide other essential services
         to its citizens. Application of the rule also serves as a disincentive; if culpable, the
         insulated defendants have no reason to obtain liability insurance to cover the cost of
         their conduct, or to take reasonable measures to eliminate, or at least reduce, the harm
         resulting from the use of their product.

James, 820 A.2d at 49. Two other courts addressing claims by municipalities brought against some of

these same Defendants arising out of the opioid crisis have rejected the doctrine. See City of Everett v.

Purdue Pharma L.P., No. C17-209RSM, 2017 WL 4236062 (W.D. Wash. Sept. 25, 2017); In re Opioid

Litig., No. 400000/2017, 2018 WL 3115102, at *10 (N.Y. Sup. Ct. June 18, 2018).

         Contrary to Defendants’ claim, West Virginia did not adopt the doctrine in State v. St. Clair,

355 S.E.2d 418 (W. Va. 1987). The St. Clair court’s refusal to allow the recovery of the costs of

incarceration in a county jail prior to conviction in a criminal case does not constitute the adoption of

the free public services doctrine. The order being appealed in St. Clair was the refusal of the court

below to allow probation until the incarceration costs were paid. Id. at 419. The costs become a

criminal fine. While the court resolved the issue on a statutory basis, it avoided the constitutional

questions that would have been raised by the State’s position in St. Clair. Id. at 419, n.1. Finally, the

doctrines of strict construction applicable to criminal statutes and rules are simply not comparable to

the broad construction applied to common law claims.43

         Moreover, beginning with City of Flagstaff v. Atchison, Topeka & Santa Fe Ry. Co., 719 F.2d 322

(9th Cir. 1983) governmental claims for public nuisances have not been subjected to this restrictive

doctrine: “Recovery has also been allowed where the acts of a private party create a public nuisance



43Compare State v. Sears, 468 S.E.2d 324, 334 (W. Va. 1996) (rule of lenity requires doubt as to legislative intent
of criminal statute should be resolved in favor of lenity for the accused) with Patrick v. Sharon Steel Corp., 549 F.
Supp. 1259, 1263 (N.D. W. Va. 1982) (noting broad construction applied to civil nuisance claim).



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which the government seeks to abate.” 719 F.2d at 324; see City of Chicago v. Beretta U.S.A. Corp., 821

N.E.2d 1099, 1124 (Ill. 2004); City of Philadelphia v. Beretta U.S.A. Corp., 277 F.3d 415, 420 n.4 (3rd Cir.

2002); James, 820 A.2d at 49 (“the Municipal Cost Recovery Rule does not apply to cases, as here,

where a municipality seeks to recover damages for the cost of abating a nuisance”); State v. Lead Ind.

Assn., Inc., No. 99-5226, 2001 WL 345830, at *5 (R.I. Super. Apr. 2, 2001) (refusing to apply free public

services doctrine to nuisance claims by Attorney General arising out of the use of lead paint); see also

McIntyre, supra, 55 Fordham L. Rev. at 1023 & n. 129.

        Similarly, the rule also has been rejected when, as is the case here, the governmental plaintiff

is proceeding under statutory authorization. City of Flagstaff, 719 F.2d at 324 (citing cases); see also United

States v. Chesapeake & Ohio Railway Co., 130 F.2d 308 (4th Cir. 1942) (permitting United States as

plaintiff to recover costs of putting out fire caused by railroad under authorization of Virginia statute);

Kodiak Island Borough v. Exxon Corp., 991 P.2d 757, 761 (Alaska 1999). Contrary to the Defendants’

arguments, W. Va. Code § 7-1-3kk specifically authorizes the County to take “appropriate and

necessary actions for the elimination of hazards to public health and safety and to abate or cause to

be abated anything which the commission determines to be a public nuisance.”

        Finally, courts reject the application of the free public services doctrine where, as is the case

here, the municipality “claims a repeated course of conduct on defendants' part, requiring [it] to

expend substantial governmental funds on a continuous basis.” James, 820 A.2d at 48-49; see also

Cincinnati v. Beretta, 768 N.E.2d at 1149; City of Boston, 2000 WL 1473568, at *8.

        D.       The Economic Loss Doctrine Does Not Bar Plaintiff’s Claims.
        Defendants seek dismissal based on the economic loss rule. [Dist. Mem. at 9-10; Mfr. Mem.

at 5; Pharm. Mem. at 15-16] Plaintiff incorporates the responses of Summit and City of Chicago on

this issue. [Summit Opp. Mem. at 21-23, 85-88; and Chicago Opp. Mem. at 37-38]




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         Defendants rely on the opinion of the Supreme Court of Appeals of West Virginia in Aikens

v. Debow, where a motel and restaurant operator sued a truck driver and his employer seeking damages

for loss of income, which the operator of the motel and restaurant claimed were the result of a bridge

closure caused by repairs after it was struck by the defendants’ truck. 541 S.E.2d 576 (2000). The court

rejected the claims, holding that under the economic loss rule “[a]n individual who sustains economic

loss from an interruption in commerce caused by another’s negligence may not recover damages in

the absence of physical harm to that individual’s person or property, a contractual relationship with

the alleged tortfeasor, or some other special relationship between the alleged tortfeasor and the

individual.” Id. at Syl. Pt. 9. Aikens’ negligence claims based on an interruption in commerce are clearly

different than the losses alleged here.

         First, as Aikens itself held, the economic loss rule does not apply to nuisance claims. Id. at 591

(“We also emphasize that the holding of this case applies strictly to plaintiffs alleging purely economic

loss from an interruption in commerce caused by another's negligence. This opinion therefore does

not encompass, and has no effect upon, our prior rulings regarding . . . nuisance law.”).44 Thus, the

damages sought by the Plaintiff’s nuisance claim are not subject to dismissal on this basis.

         Second, the doctrine has no application to the Plaintiff’s other claims, as the rule is “strictly”

limited “to plaintiffs alleging purely economic loss from an interruption in commerce caused by

another’s negligence.” Id. at 591. Here, Plaintiff’s damages do not result from any interruption in

commerce. The doctrine is a means of limiting the duty required of certain potential tortfeasors, but


44See also City of Boston, supra, at *9-10 (“Defendants' argument that the economic loss rule requires dismissal of
the claims for public nuisance and unjust enrichment is without merit, as the rule does not appear to apply to
such claims.”); cf. Cleveland v. JP Morgan Chase Bank, N.A., 2013-Ohio-1035, ¶ 28, 2013 WL 1183332 (Ohio Ct.
App.) (“The [economic loss]doctrine does not present a strong case for application to the City's [public
nuisance] suit where the duty alleged to have been breached is not related to a contractual relationship and the
City has alleged particularized damages associated with decreased tax revenue and increased costs of safety
services.”); Sharyland Water Supply Corp. v. City of Alton, 354 S.W.3d 407, 419 (Tex. 2011) (economic loss rule
does not apply in nuisance actions).



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it does not limit damages recoverable in an otherwise proper negligence action. Brian & Christie, Inc. v.

Leishman Elec., Inc., 244 P.3d 166, 172 (Idaho 2010). Thus, the economic loss doctrine “does not bar

recovery in tort where the defendant had a duty imposed by law rather than by contract and where

the defendant’s intentional breach of that duty caused purely monetary harm to the plaintiff.” Giles v.

Gen. Motors Acceptance Corp., 494 F.3d 865, 879 (9th Cir. 2007).

        This same argument was rejected by the circuit court in the cases brought by the West Virginia

Attorney General against Cardinal and AmerisourceBergen. Morrisey Order, ECF No. 580-7 at 34-37;

and Morrisey v. AmerisourceBergen Drug Corp., et al, 2014 WL 12814021 at 36-39. A New York court has

recently rejected the application of the economic loss doctrine in a similar case brought by counties

within the State of New York. In re Opioid Litigation, Suffolk County, NY, No. 400000/2017, 2018 WL

3115102 at 27 (Order dated June 18, 2018).

        E.      Plaintiff’s Claims Are Not Barred by the Statute of Limitations.
        The Manufacturer Defendants argue that the Plaintiff’s claims are barred by the statute of

limitations and incorporate the arguments from Summit County. [Mfr. Mem. at 12-24] Plaintiff

incorporates Summit County’s response on this issue. [Summit Opp. Mem. at p. 122-128]

        West Virginia law controls the question of when the statute of limitations begins to run. Patrick

v. Sharon Steel Corp., 549 F. Supp. 1259, 1263 (N.D. W. Va. 1982). West Virginia has set forth the

following five-step analysis to determine whether a cause of action is time-barred:

        [f]irst, the court should identify the applicable statute of limitation for each cause of
        action. Second, the court (or if questions of material fact exist, the jury) should identify
        when the requisite elements of the cause of action occurred. Third, the discovery rule
        should be applied to determine when the statute of limitation began to run by
        determining when the plaintiff knew, or by the exercise of reasonable diligence should
        have known, of the elements of a possible cause of action, as set forth in Syllabus Point
        4 of Gaither v. City Hosp., Inc., 199 W.Va. 706, 487 S.E.2d 901 (1997). Fourth, if the
        plaintiff is not entitled to the benefit of the discovery rule, then determine whether the
        defendant fraudulently concealed facts that prevented the plaintiff from discovering
        or pursuing the cause of action. Whenever a plaintiff is able to show that the defendant
        fraudulently concealed facts which prevented the plaintiff from discovering or
        pursuing the potential cause of action, the statute of limitation is tolled. And fifth, the


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         court or the jury should determine if the statute of limitation period was arrested by
         some other tolling doctrine. Only the first step is purely a question of law; the
         resolution of steps two through five will generally involve questions of material fact
         that will need to be resolved by the trier of fact.

Dunn v. Rockwell, 689 S.E.2d 255, Syl. Pt. 5 (W. Va. 2009). The resolution of steps two through five in

this case involve questions of material fact that will need to be resolved by the trier of fact. Thus,

Defendants’ arguments should be dismissed on that basis alone.

         Furthermore, with respect to co-conspirators, the general rule in West Virginia is that if the

statute of limitations is tolled as to one defendant in a civil conspiracy, it is tolled as to all alleged co-

conspirators. Dunn, 689 S.E.2d at 273.

                           1.       There is No Statute of Limitations for Unabated Nuisance
                                    Claims.
         The statute of limitations which governs public nuisance in the State of West Virginia “does

not accrue until the harm or endangerment to the public health, safety and the environment is

abated.”45 Plaintiff alleges the nuisance has not been abated. [SAC ¶ 918] In order for Defendants to

prevail on this legal issue, they must establish that the prescription opiate and heroin epidemic in the

County is over and/or has been abated. Neither reality nor the record suggest that such is the case. At

the very least, a material issue of fact exists which is sufficient to deny summary judgment.

                           2.       Plaintiff Has Adequately Pleaded Fraudulent Concealment.
         Plaintiff’s SAC adequately pleaded fraudulent concealment. See § I.D. above. Plaintiff

incorporates Summit’s response on this issue as set forth in the Summit Opp. Mem. at 124-125. Like




45Syl. pt. 11, State ex rel. Smith v. Kermit Lumber & Pressure Treating Co., 488 S.E.2d 901 (W. Va. 1997); Rhodes v.
E.I. du Pont de Nemours & Co., 657 F. Supp. 2d 751, 762 (S.D. W. Va. 2009), aff'd in part, appeal dismissed in part,
636 F.3d 88 (4th Cir. 2011) (noting that tortious “refusal to remediate tolls the statute of limitations” only if such
behavior constitutes tortious conduct.”) (emphasis added)).



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Summit, Plaintiff has pleaded more than sufficient facts to support tolling the statute of limitations

based on Defendants’ fraudulent concealment.46

                         3.      The Discovery Rule Applies to Plaintiff’s Claims.
         The “discovery rule” is generally applicable to all torts unless there is a clear statutory

prohibition. In tort actions, absent a clear statutory prohibition, under the discovery rule the statute

of limitations begins to run when the plaintiff knows, or by the exercise of reasonable diligence, should

know (1) that the plaintiff has been injured, (2) the identity of the entity who owed the plaintiff a duty

to act with due care, and who may have engaged in conduct that breached that duty, and (3) that the

conduct of that entity has a causal relation to the injury. Syl. pts. 2-3, Dunn v. Rockwell, 689 S.E.2d 255

(W. Va. 2009).

          Application of the second element forecloses dismissal in favor of Defendants. The identity

of the manufacturers and wholesale distributors who engaged in commerce, let alone the conduct of

those that may have engaged in unlawful conduct, was not public knowledge. This information was

secreted in two locations: (1) the DEA ARCOS database; and (2) the Defendants’ Suspicious Order

Monitoring System (SOMS). Both the DEA and Defendants have jealously guarded the information

and refuse to disclose the same.

         Plaintiff did not know (and did not have the means to know) the identity of the entity who

owed Plaintiff a duty to act with due care, and who may have engaged in conduct that breached that

duty, or that the conduct of that entity has a causal relation to the injury prior to the expiration of any

statute of limitations. In fact, but for the investigative journalism of Pulitzer Prize winner Eric Eyre

of the Charleston Gazette, the identity of those who engaged in wholesale distribution and the volume




46[Cabell SAC ¶¶ 721-729; ¶ 495; ¶ 515; ¶¶ 772-74; ¶ 778; ¶ 767; ¶¶ 318-361; ¶¶ 362-394; ¶ 540; ¶¶ 274-315; ¶¶
559-564; ¶ 560 n. 219; ¶¶ 724-25]



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of prescription pain pills sold in southern West Virginia would still be unknown. See E. Eyre, Drug

Firms Poured 780M Painkillers Into WV Amid Rise Of Overdoses, Charleston Gazette (December 17, 2016).

        The Defendants cannot escape the application of the discovery rule in this case by reference

to what they describe as publicly available material (FDA’s regulatory actions, articles related to opioids

and opioid addition, and marketing efforts regarding opioids) contained within Plaintiff’s SAC. [Mfr.

Mem. at 14] Under Dunn, this issue should be submitted to the finder of fact to determine whether

this information was of such a public nature that a reasonable person would have known, or by the

exercise of reasonable diligence should have known, of the elements of a possible cause of action.

                        4.      Equitable Estoppel Applies to Plaintiff’s Claims.
        West Virginia has held that “estoppel applies when a party is induced to act or to refrain from

acting to her detriment because of her reasonable reliance on another party’s misrepresentations or

concealment of material fact.” Bradley v. Williams, 465 S.E.2d 180, 185 (W. Va. 1995) (cit. om.).

Plaintiff’s SAC has pleaded more than sufficient facts to support tolling the statute of limitations based

on equitable estoppel. [See, e.g., SAC ¶¶ 721-729] As argued above, Plaintiff’s inclusion of what the

Defendants deem “publicly available” documents within the SAC does not preclude the application

of the doctrine of equitable estoppel to Plaintiff’s claims. Under Dunn, this matter should be submitted

to the finder of fact to determine whether a reasonable person would have known, or by the exercise

of reasonable diligence should have known, of the elements of a possible cause of action.

                        5.      The Continuous Violations Doctrine Applies to Plaintiff’s
                                Claims.
        Plaintiff incorporates Summit County’s response on this issue. [Summit Opp. Mem. at 126-

27] West Virginia has adopted the continuing tort theory, which provides, “[w]here a tort involves a

continuing or repeated injury, the cause of action accrues at and the statute of limitations begins to

run from the date of the last injury or when the tortious overt acts or omissions cease.” Graham v.

Beverage, 566 S.E.2d 603, Syl. Pt. 11 (W. Va. 2002).



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       The continued tortious and unlawful conduct by the Defendants has caused a repeated and

continuous injury. The tort is not completed and the wrongdoing and unlawful activity by Defendants

has not ceased. The public nuisance remains unabated. The conduct causing the damages remains

unabated. The damages have not occurred all at once but have continued to occur and have increased

as time progresses.

       The case relied on by Defendants is clearly distinguishable. Copier Word Processing Supply, Inc. v.

WesBanco Bank, Inc., 640 S.E.2d 102, 110 (W. Va. 2006) involved “the conversion of multiple, separate

negotiable instruments” which the court concluded was unlike the circumstances in Graham, “where

wrongful conduct created a specific continuing injury, which was then perpetuated by the tortfeasor’s

failure to take corrective action.” The Defendants cannot escape the application of the continuous

violation doctrine by claiming that different defendants engaged in different conduct at different

periods of time. The Defendants’ argument not only mischaracterizes the Plaintiff’s allegations but

attempts to self-limit their misconduct to discrete acts alleged in the SAC which were merely

representative examples of a complex and far-reaching fraudulent scheme rather than isolated acts.

The Defendants’ conduct was well orchestrated and continuous, and it continues to harm Plaintiff, as

the opioid epidemic is ongoing.

       F.      Plaintiff Adequately Pled Claims Against the Pharmacy Defendants.
       The Pharmacy Defendants claim that Plaintiff has not adequately plead claims against them.

[Pharm. Mem. at 3-4] This claim rings hollow. See §§ I.C.2 and I.F.3, above. The allegations set forth

in Plaintiff’s SAC ¶¶ 569-617 are not vague, conclusory, generic boilerplate, or “naked assertions.”

[Pharm. Mem. at 4] Rather, the allegations set forth a detailed description of the Pharmacy Defendants’

participation as distributors in the creation of the opioid epidemic. The Pharmacy Defendants are a

subset of the Distributor Defendants and subject to the same duties. [SAC ¶¶ 86-91, 94, 570] Although

sued as distributors, the Pharmacy Defendants had information available to them beyond what other



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distributors may have had: as alleged in the SAC, the Pharmacy Defendants developed and maintained

extensive data on the opioids they distributed, thus, having direct knowledge of patterns and instances

of improper distribution, prescribing, and use of prescription opioids. The discrete acts alleged in the

SAC were representative examples of the Pharmacy Defendants’ failure to take meaningful action to

halt the diversion of opioids despite their knowledge of it.

        Moreover, the transactional ARCOS data was produced to Plaintiff just prior to the filing of

the SAC, and the data had not yet been fully reviewed and synthesized. Discovery is ongoing. The

Pharmacy Defendants are attempting to impose a heightened pleading standard that is not warranted

under either Iqbal or Twombly.

                1.       Plaintiff’s Claims Are Not Barred by W.Va. Code § 30-5-21.
        The Pharmacy Defendants seek to evade liability based on W.Va. Code § 30-5-21 which

provides that all persons “shall be responsible for the quality of all drugs” sold or dispensed “with the

exception of those sold in or dispensed unchanged from the original retail package of the

manufacturer, in which event the manufacturer shall be responsible.” [Pharm. Mem. at 10-11] The

Distributor Defendants also incorporate this argument. [Dist. Mem. at 12, n. 9] While Plaintiffs bring

claims against the Pharmacy Defendants, they do so as Distributor Defendants. None of the current

Pharmacy Defendants sells at retail or is being sued for their sales at retail.      Instead, they act as

distributors to their retail subsidiaries and are being sued solely in that role.

        West Virginia Code § 30-5-21 is not applicable to Plaintiff’s claims as it relates to the “quality”

of drugs sold or dispensed. Plaintiff’s claims relate to the sheer “quantity” of opioids distributed.

Plaintiff’s claims against the Pharmacy Defendants are not related to the “quality” of the drugs, thus,

the exception does not apply. The cases relied on by the Defendants are clearly distinguishable as they

all involved personal injury, product liability claims pertaining to the “quality” of the drugs sold or

dispensed. Thomas v. Wyeth, No. 5:05-0094, 2005 WL 3754203, at *1 (S.D. W. Va. June 16, 2005)



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(plaintiffs alleged that the HRT caused them to develop serious illnesses); Ashworth v. Albers Med., Inc.,

395 F. Supp. 2d 395 (S.D. W. Va. 2005) (plaintiffs alleged counterfeit tablets of cholesterol-reducing

drug caused injuries); Baker v. Purdue Pharma L.P., No. 1:01-0553, 2002 WL 34213424 (S.D. W. Va.

Mar. 28, 2002) (plaintiffs developed addiction to OxyContin); In re Rezulin Products Liability Litigation,

133 F. Supp. 2d 272 (S.D.N.Y. 2001) (plaintiffs alleged personal injuries from the use of Rezulin).

Claims against pharmacists arising out of theories other than drug quality are not barred by the

provision. Walker v. Rite Aid of W. Virginia, Inc., 2:02-1208, 2003 WL 24215831 (S.D. W. Va. Oct 14,

2003) (failure to warn claim by plaintiff who alleged personal injury from use of Aleve not within

statute’s bar); Ashworth v. Albers Med., Inc., 395 F. Supp. 2d 395, 406 (S.D. W. Va. 2005) (same;

prescription drug); see also Hartman v. Caraco Pharm. Labs., Ltd., 789 F. Supp. 2d 701, 706 (S.D. W. Va.

2011) (rejecting fraudulent joinder challenge to failure to warn claim against pharmacy).

         Contrary to Defendants’ assertion, the fact that Plaintiff has alleged that opioids are

dangerously addictive and unsafe for long-term use does not convert this case to one involving the

“quality” of the drug for purposes of triggering immunity. The plain, unambiguous language of W.

Va. Code § 30-5-21 is susceptible of no other interpretation than it is limited to cases involving the

“quality” of the drugs.47 See Walker, supra at *5 (court found that the immunity was not applicable to

failure to warn cases on the basis that had the Legislature intended to do so, it could have specified

that the seller is relieved from all forms of products liability in connection with the sale of drugs, rather

than simply for liability relating to the quality of the drug sold). Here, the claims against the Pharmacy

Defendants arise out of their duties to prevent diversion as distributors of controlled substances rather

than the quality of the drugs sold at retail. Thus, Plaintiff’s allegations against the Pharmacy and

Distributor Defendants are predicated on the “quantity” distributed, the failure to identify suspicious


47Indeed, W. Va. Code § 30-5-10(c) explicitly imposes a duty to warn on the part of a pharmacist when, as
here, the medicine is “poisonous, deleterious, or habit-forming.”


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orders, and the failure to provide effective controls and procedures to guard against diversion of

controlled substances. Plaintiff’s SAC clearly contains facts and allegations against the Pharmacy and

Distributor Defendants which take their action outside any protections afforded by W. Va. Code §

30-5-21.

                  2.       Plaintiff’s Claims Are Not Barred by the West Virginia Professional
                           Liability Act, W.Va. Code § 55-7B-6.
         Plaintiff’s claims are not barred by the West Virginia Professional Liability Act, W. Va. Code

§ 55-7B-6, as the Plaintiff has not brought a medical professional liability action against the Pharmacy

Defendants.48 West Virginia Code § 55-7B-2(i) defines medical professional liability as:

         any liability for damages resulting from the death or injury of a person for any tort or
         breach of contract based on health care services rendered, or which should have been
         rendered, by a health care provider or health care facility to a patient. It also means
         other claims that may be contemporaneous to or related to the alleged tort or breach
         of contract or otherwise provided, all in the context of rendering health care services.

         West Virginia Code § 55-7B-2(e) et seq. defines “health care” to mean: “(1) any act, service or

treatment provided … in furtherance of a physician’s plan of care, a health care facility’s plan of care,

medical diagnosis or treatment”; “(2) any act, service or treatment performed …, or which should

have been performed …,by any health care provider … to or on behalf of a patient during the patient’s

medical care …”; and “(3) the process employed by health care providers and health care facilities for

the appointment, employment, contracting, credentialing, privileging and supervision of health care

providers.”

         As set forth in Plaintiff’s SAC, Plaintiff’s claims against the Pharmacy Defendants are not

based on the provision of “health care” and do not qualify as medical professional liability actions. As

noted above, Plaintiff has sued the Pharmacy Defendants only in their capacity as distributors and not



48 Pharmacies were not included in the definition of “health care facility” prior to June 29, 2017. See, e.g. Phillips
v. Larry’s Drive-In Pharmacy, 647 S.E.2d 920, Syl. Pt. 7 (W. Va. 2007). As such, claims based on conduct occurring
prior to this amendment are not subject to the MPLA.



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as retail pharmacies. [SAC ¶¶ 86-91, 94, 570] Again, Plaintiff’s allegations against the Pharmacy

Defendants are based on their duties as distributors and predicated on the “quantity” distributed, the

failure to identify suspicious orders, and the failure to provide effective controls and procedures to

guard against diversion of controlled substances. Their conduct simply is not the provision of health

care under the act. Indeed, the claims asserted against the Pharmacy Defendants are not different from

the claims asserted against other Distributor Defendants. The MPLA is simply not applicable, and

Plaintiff was not required to comply with the pre-filing requirements set forth in W. Va. Code § 55-

7B-6(b).

       G.      Plaintiff’s Claim for Punitive Damages Should Not be Dismissed.
       The Manufacturer Defendants seek to dismiss Plaintiff’s claim for punitive damages on the

basis that punitive damages are not an independent cause of action. [Mfr. Mem. at 12] Plaintiff agrees

that a punitive damages claim is not a separate cause of action in West Virginia. Plaintiff pled it in a

separate count to both set forth the legal standard and to provide Defendants with clear notice that it

was seeking punitive damages. Since the Manufacturer Defendants do not appear to be challenging

the Plaintiff’s entitlement to punitive damages, “dismissal” serves no purpose. Instead, the Court

should deem the punitive damage claim as part of the ad damnum section of the SAC.

                                          CONCLUSION
       For the reasons set forth herein, the motions to dismiss should be denied


                                                       Respectfully submitted,
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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 9th day of July 2018, I electronically filed the foregoing

as with the Clerk of Court by using the CM/ECF System.

                                            /s/ Anthony J. Majestro
                                            Anthony J. Majestro




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